  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 1 of 54. PageID #: 1001




                  IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION



IN RE: EAST PALESTINE TRAIN DERAILMENT           Case No. 4:23-CV-00242-BYP

                                                 JUDGE BENITA Y. PEARSON


    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
    PLAINTIFFS’ MASTER CONSOLIDATED CLASS ACTION COMPLAINT
   UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6) AND TO STRIKE
           UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(f)
      Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 2 of 54. PageID #: 1002




                                                 TABLE OF CONTENTS

                                                                                                                                    Page

TABLE OF AUTHORITIES ..................................................................................................... iii

INTRODUCTION AND SUMMARY OF ARGUMENT............................................................ 1

STATEMENT OF THE ISSUES................................................................................................. 4

BACKGROUND ........................................................................................................................ 4

LEGAL STANDARD ................................................................................................................. 7

ARGUMENT .............................................................................................................................. 7

I.        FEDERAL LAW PREEMPTS PLAINTIFFS’ NEGLIGENCE, GROSS NEGLIGENCE, NUISANCE,
          AND STRICT-LIABILITY CLAIMS .......................................................................................7

          A.         The ICCTA Preempts Plaintiffs’ Negligence And Gross Negligence
                     Claims Concerning Railroad Transportation (Counts 1, 17) ..................................8

          B.         The FRSA Preempts Plaintiffs’ Negligence, Gross Negligence, Nuisance,
                     And Strict-Liability Claims Concerning Railroad Safety (Counts 1-6, 17) .......... 10

                     1.        Plaintiffs have not plausibly alleged that Norfolk Southern violated
                               a federal standard of care or an internal rule that was created
                               pursuant to federal regulation .................................................................12

                     2.        Plaintiffs’ negligence, gross negligence, nuisance, and strict-liability
                               claims premised on railroad safety are “covered” by FRSA
                               regulations ..............................................................................................14

                     3.        The exception for “additional or more stringent” laws under 49 U.S.C.
                               § 20106(a)(2) is inapplicable ..................................................................18

          C.         The HMTA Preempts Plaintiffs’ Negligence, Gross Negligence, Nuisance,
                     And Strict-Liability Claims Concerning The Transportation Of Hazardous
                     Materials (Counts 1-6, 17)..................................................................................19

II.       PLAINTIFFS FAIL TO SATISFY THEIR PLEADING BURDEN AS TO ALL THEIR CLAIMS
          AND REQUEST FOR PUNITIVE DAMAGES .........................................................................22

          A.         Plaintiffs’ Negligence And Gross Negligence Claims Fail (Counts 1, 17)........... 22

                     1.        Plaintiffs fail to plead breach or resulting injury .....................................22




                                                                  -i-
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 3 of 54. PageID #: 1003




                    2.         Purported violations of federal regulations do not constitute
                               negligence per se, and plaintiffs fail to plead any regulatory
                               violations ................................................................................................25

                    3.         Plaintiffs’ gross negligence claim fails to plead the requisite
                               mens rea .................................................................................................25

          B.        Plaintiffs’ Strict-Liability Claim Fails (Count 2).................................................26

                    1.         Plaintiffs fail to plead conduct constituting an abnormally
                               dangerous activity subject to strict liability .............................................26

                    2.         Rail transportation of hazardous materials, and conduct incident to
                               such transportation, falls within the common-carrier exception to
                               strict liability ..........................................................................................28

          C.        Plaintiffs’ Statutory, Public, And Private Nuisance Claims Fail
                    (Counts 3-6) .......................................................................................................30

                    1.         Plaintiffs fail to plead a particularized injury distinct from the
                               general public as required for a statutory or public nuisance claim .......... 31

                    2.         Plaintiffs fail to plead the elements of private nuisance ...........................32

          D.        Plaintiffs’ Trespass Claim Fails (Count 7) ..........................................................33

          E.        Plaintiffs’ Trespass-To-Chattels Claim Fails (Count 8).......................................35

          F.        Plaintiffs’ Statutory Agricultural Claims Fail (Counts 9-12) ...............................35

          G.        Plaintiffs’ Medical-Monitoring Claims Fail (Counts 13-15)................................36

                    1.         Medical monitoring is not a cause of action under Ohio law ................... 36

                    2.         Plaintiffs have failed to plead the necessary underlying conduct .............37

                    3.         Plaintiffs have otherwise failed to plead the elements of medical
                               monitoring ..............................................................................................38

          H.        Plaintiffs’ Spoliation Claim Fails (Count 16)......................................................39

          I.        Plaintiffs’ Request For Punitive Damages Fails ..................................................39

CONCLUSION ......................................................................................................................... 40




                                                                  - ii -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 4 of 54. PageID #: 1004




                                            TABLE OF AUTHORITIES

                                                                                                                        Page(s)
                                                            CASES

Acord v. Colane Co.,
       719 S.E.2d 761 (W.Va. 2011) ........................................................................................ 37

Actiesselskabet Ingrid v. Central Railroad Co.,
       216 F. 72 (2d Cir. 1914) ................................................................................................ 30

Adrian & Blissfield Railroad Co. v. Village of Blissfield,
       550 F.3d 533 (6th Cir. 2008)........................................................................................ 3, 9

Akron, Canton & Youngstown Railroad Co. v. I.C.C.,
       611 F.2d 1162 (6th Cir. 1979)........................................................................................ 29

Allegheny General Hospital v. Philip Morris, Inc.,
       228 F.3d 429 (3d Cir. 2000)........................................................................................... 31

Alleman v. YRC,
      787 F. Supp. 2d 679 (N.D. Ohio 2011) .......................................................................... 40

Asp v. Toshiba America Consumer Products, LLC,
        616 F. Supp. 2d 721 (S.D. Ohio 2008) ........................................................................... 22

Baatz v. Columbia Gas Transmission, LLC,
       929 F.3d 767 (6th Cir. 2019).......................................................................................... 33

Baker v. Chevron U.S.A., Inc.,
       533 F. App’x 509 (6th Cir. 2013)................................................................................... 33

Ballard v. National Football League Players Ass’n,
       123 F. Supp. 3d 1161 (E.D. Mo. 2015) .......................................................................... 37

Banford v. Aldrich Chemical Co.,
      932 N.E.2d 313 (Ohio 2010).......................................................................................... 32

BNSF Railway Co. v. Eddy,
      459 P.3d 857 (Mont. 2020) ...................................................................................... 28, 29

Board of County Commissioners of County of La Plata v. Brown Group Retail,
      Inc., 598 F. Supp. 2d 1185 (D. Colo. 2009).................................................................... 28

Bradford v. Union Pacific Railroad Co.,
       491 F. Supp. 2d 831 (W.D. Ark. 2007) .......................................................................... 15




                                                              - iii -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 5 of 54. PageID #: 1005




Brown v. County Commissioners of Scioto County,
      622 N.E.2d 1153 (Ohio Ct. App. 1993).......................................................................... 32

Burlington Northern & Santa Fe Railway Co. v. Doyle,
       186 F.3d 790 (7th Cir. 1999).................................................................................... 16, 17

CBC Engineers & Associates Ltd. v. Miller Aviation, LLC,
     880 F. Supp. 2d 883 (S. D. Ohio 2012) .......................................................................... 25

Chambers v. St. Mary’s School,
     697 N.E.2d 198 (Ohio 1998).......................................................................................... 25

Chance v. BP Chemicals, Inc.,
      670 N.E.2d 985 (Ohio 1996).................................................................................... 33, 34

City of Auburn v. United States,
        154 F.3d 1025 (9th Cir. 1998).......................................................................................... 8

Conley v. Caudill,
       2003 WL 21278885 (Ohio Ct. App. May 30, 2003) ....................................................... 35

CSX Transportation, Inc. v. Easterwood,
      507 U.S. 658 (1993) ................................................................................................ 10, 11

CSX Transportation, Inc. v. Public Utility Commission,
      901 F.2d 497 (6th Cir. 1990).......................................................................................... 17

Day v. NLO,
       851 F. Supp. 869 (S.D. Ohio 1994) ................................................................................ 36

Diehl v. CSX Transportation, Inc.,
       349 F. Supp. 3d 487 (W.D. Pa. 2018) ............................................................................ 10

Doherty v. Ohio State University,
      1990 WL 86772 (Ohio Ct. App. June 26, 1990) ............................................................. 26

Drawl v. Cornicelli,
      706 N.E.2d 849 (Ohio 1997).......................................................................................... 39

Elmer v. S.H. Bell Co.,
       127 F. Supp. 3d 812 (N.D. Ohio 2015) ........................................................ 31, 36, 37, 38

Farm Bureau General Insurance Co. v. Schneider National Carriers,
      552 F. Supp. 3d 750 (S.D. Ohio 2021) ........................................................................... 23

Federal Steel & Wire Corp. v. Ruhlin Construction Co.,
      543 N.E.2d 769 (Ohio 1989).......................................................................................... 24




                                                             - iv -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 6 of 54. PageID #: 1006




Fisher v. Perron,
       30 F.4th 289 (6th Cir. 2022) ............................................................................................ 7

Flex Homes, Inc. v. Ritz-Craft Corp.,
      721 F. Supp. 2d 663 (N.D. Ohio 2010) .......................................................................... 40

Friberg v. Kansas City Southern Railway Co.,
       267 F.3d 439 (5th Cir. 2001)...................................................................................... 9, 10

Guckenberg v. Wisconsin Central Ltd.,
      178 F. Supp. 2d 954 (E.D. Wis. 2001) ............................................................................. 9

Hirsch v. CSX Transportation, Inc.,
       2008 U.S. Dist. LEXIS 124211 (N.D. Ohio Oct. 22, 2008) ...................................... 27, 28

Hirsch v. CSX Transportation, Inc.,
       656 F.3d 359 (6th Cir. 2011).................................................................................... 36, 38

Hoffer v. Cooper Wiring Devices, Inc.,
       2007 WL 1725317 (N.D. Ohio June 13, 2007) ............................................................... 24

In re Behr Dayton Thermal Products Litigation,
       2022 WL 3328407 (S.D. Ohio Aug. 11, 2022) ......................................................... 26, 28

In re Derailment Cases,
       416 F.3d 787 (8th Cir. 2005).................................................................................... 14, 15

In re Sulzer Hip Prosthesis & Knee Prosthesis Liability Litigation,
        455 F. Supp. 2d 709 (N.D. Ohio 2006) .......................................................................... 37

Indiana Harbor Belt Railroad Co. v. American Cyanamid Co.,
       916 F.2d 1174 (7th Cir. 1990)........................................................................................ 29

Jackson v. Arka Express, Inc.,
       2022 WL 1136771 (N.D. Ohio Apr. 18, 2022) ............................................................... 25

Johnson v. CSX Transportation, Inc.,
      2008 WL 4427211 (W.D. Ky. Sept. 25, 2008) ............................................................... 29

Kramer v. Angel’s Path, LLC,
      882 N.E.2d 46 (Ohio 2007)............................................................................................ 31

Looman v. Montana,
     2012 WL 5287951 (D. Mont. Aug. 23, 2012) ................................................................ 27

Lueke v. Union Oil Co.,
       2000 WL 1545077 (Ohio Ct. App. Oct. 20, 2000).......................................................... 34




                                                              -v-
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 7 of 54. PageID #: 1007




Mann v. CSX Transportation, Inc.,
      2009 WL 3766056 (N.D. Ohio Nov. 10, 2009), aff’d sub nom.,
      Hirsch v. CSX Transportation, Inc., 656 F.3d 359 (6th Cir. 2011)...................... 36, 38, 39

Mawa Inc. v. Univar USA Inc.,
      2016 WL 2910084 (E.D. Pa. May 19, 2016) .................................................................. 21

Maynard v. CSX Transportation, Inc.,
      360 F. Supp. 2d 836 (E.D. Ky. 2004) ........................................................................... 8, 9

MCI WorldCom Network Services, Inc. v. W.M. Brode Co.,
     411 F. Supp. 2d 804 (N.D. Ohio 2006) .......................................................................... 35

Mich. Southern Railroad Co. v. City of Kendallville,
       251 F.3d 1152 (7th Cir. 2001)........................................................................................ 11

Mohat v. Hovarth,
      2013 WL 5450296 (Ohio Ct. App. Sept. 30, 2013) .................................................. 25, 26

Nickels v. Grand Trunk Western Railroad, Inc.,
       560 F.3d 426 (6th Cir. 2009).....................................................................3, 11, 12, 14, 18

Norfolk Southern Railway Co. v. Shanklin,
       529 U.S. 344 (2000) ...................................................................................................... 10

Parrish v. JCI Jones Chemicals, Inc.,
       2019 WL 1410880 (D. Haw. Mar. 28, 2019).................................................................. 21

Philadelphia Electric Co. v. Hercules, Inc.,
       762 F.2d 303 (3d Cir. 1985)........................................................................................... 32

Pinares v. United Technologies Corp.,
       2011 WL 240522 (S.D. Fla. Jan. 19, 2011) .............................................................. 23, 24

Preston v. Murty,
       512 N.E.2d 1174 (Ohio 1987) ........................................................................................ 40

Ramirez v. Akzo Nobel Coatings, Inc.,
      791 N.E.2d 1031 (Ohio Ct. App. 2003).......................................................................... 34

Redland Soccer Club, Inc. v. Department of the Army,
      696 A.2d 137 (Pa. 1997) .................................................................................... 37, 38, 39

Roth v. Norfalco, LLC,
        651 F.3d 367 (3d Cir. 2011)........................................................................... 3, 19, 20, 21

Rushing v. Kansas City Southern Railway Co.,
      194 F. Supp. 2d 493 (S.D. Miss. 2001) ............................................................................ 9



                                                              - vi -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 8 of 54. PageID #: 1008




Salerno v. City of Niagara Falls,
       2020 WL 5814406 (W.D.N.Y. Sept. 30, 2020), aff’d, 2021 WL 4592138
       (2d Cir. 2021) .......................................................................................................... 23, 24

Sanders v. Norfolk Southern Corp.,
      2010 WL 297813 (D.S.C. Jan. 20, 2010) ................................................................. 18, 22

Scarbrough v. Coleman Co.,
       2013 WL 3825248 (D. Colo. July 24, 2013) ............................................................ 21, 22

Self v. Norfolk Southern Corp.,
        2007 WL 540373 (D.S.C. Feb. 15, 2007) ................................................................. 18, 22

Sheldon v. Kettering Health Network,
       40 N.E.3d 661 (Ohio Ct. App. 2015).............................................................................. 25

Smith v. Howard Johnson Co.,
       615 N.E.2d 1037 (Ohio 1993) ........................................................................................ 39

State ex rel. City of Martinsburg v. Sanders,
        632 S.E.2d 914 (W.Va. 2006) .................................................................................. 38, 39

State v. O’Brien,
        2017 WL 3475524 (Ohio Ct. App. Aug. 10, 2017)......................................................... 36

Steward v. City of Columbus,
      1998 WL 598433 (Ohio Ct. App. Sept. 10, 1998) .......................................................... 26

Strother v. Hutchinson,
       423 N.E.2d 467 (Ohio 1981).......................................................................................... 22

Suchon v. Wisconsin Central Ltd.,
      2005 WL 568057 (W.D. Wis. Feb. 23, 2005)................................................................. 10

Timbuk Farms, Inc. v. Hortica Insurance & Employees Benefits,
      2021 WL 5446416 (Ohio Ct. App. Nov. 15, 2021)......................................................... 34

Tipton v. CSX Transportation, Inc.,
       2016 WL 11501426 (E.D. Tenn. July 7, 2016)............................................8, 9, 15, 16, 18

Tipton v. CSX Transportation, Inc.,
       2017 WL WL 10398182 (E.D. Tenn. Oct. 25, 2017) ...................................................... 13

Town of East Troy v. Soo Line Railroad Co.,
      409 F. Supp. 326 (E.D. Wis. 1976) ................................................................................ 29

Trimbur v. Norfolk Southern Railway Co.,
      2015 WL 4755205 (S.D. Ohio Aug. 10, 2015) .................................... 9, 16, 17, 18, 21, 29



                                                               - vii -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 9 of 54. PageID #: 1009




United States Fire Insurance Co. v. Ohio High School Athletic Ass’n,
       595 N.E.2d 418 (Ohio Ct. App. 1991)............................................................................ 24

Wamer v. University of Toledo,
     27 F.4th 461 (6th Cir. 2022) ...................................................................................... 7, 23

Wilkins v. Navy Federal Credit Union,
       2023 WL 239976 (D.N.J. Jan. 18, 2023) ........................................................................ 22

Williams v. Oeder,
       659 N.E.2d 379 (Ohio. Ct. App. 1995)........................................................................... 33

Windsor-Laurelwood Center Behavioral Medicine v. Waller Landsen Dortch & Davis,
      2013 WL 12303992 (N.D. Ohio July 24, 2013)........................................................ 39, 40

Zimmerman v. Norfolk Southern Corp.,
      706 F.3d 170 (3d Cir. 2013)............................................................................... 11, 12, 14

                                                 DOCKETED CASES

Feezle v. Norfolk Southern Railway Co.,
       No. 4:23-cv-00242 (N.D. Ohio) ....................................................................................... 4

Eisley v. Norfolk Southern Railway Co.,
        No. 4:23-cv-00250 (N.D. Ohio) ....................................................................................... 5

Ibel v. Norfolk Southern Corp.,
        No. 4:23-cv-00315 (N.D. Ohio) ....................................................................................... 5

Battaglia v. Norfolk Southern Railway Co.,
       No. 4:23-cv-00303 (N.D. Ohio) ....................................................................................... 5




                                                           - viii -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 10 of 54. PageID #: 1010




                   STATUTES, RULES, REGULATIONS, AND RESTATEMENTS

49 C.F.R.
       § 171 ................................................................................................................. 12, 17, 21
       § 172 ........................................................................................................... 13, 17, 20, 21
       § 174 ....................................................................................................................... 17, 21
       § 178 ....................................................................................................................... 13, 17
       § 179 ....................................................................................................................... 17, 21
       § 209 ............................................................................................................................. 17
       § 213 ................................................................................................................. 12, 14, 17
       § 214 ............................................................................................................................. 17
       § 215 ................................................................................................................. 14, 15, 17
       § 229 ............................................................................................................................. 17
       § 231 ............................................................................................................................. 17
       § 232 ............................................................................................................................. 17
       § 240 ....................................................................................................................... 12, 16
       § 242 ....................................................................................................................... 12, 16
       § 270 ............................................................................................................................. 17
       § 271 ............................................................................................................................. 17
       § 272 ............................................................................................................................. 17
       §§ 171-180 ................................................................................................................ 7, 21
       §§ 200-299 ...................................................................................................................... 7
       §§ 1000-1399 .................................................................................................................. 7

49 U.S.C.
       § 1301 ............................................................................................................................. 8
       § 5103 ....................................................................................................................... 7, 21
       § 5125 ............................................................................................................... 19, 20, 21
       § 10501 ................................................................................................................... 6, 8, 9
       § 11101 ..................................................................................................................... 4, 29
       § 20101 ......................................................................................................................... 10
       § 20103 ........................................................................................................................... 7
       § 20106 .................................................................................................. 11, 12, 13, 14, 18

Ohio Rev. Code
      § 901 ............................................................................................................................. 35
      § 959 ............................................................................................................................. 36

W.Va. Code
      § 61-3-48a ..................................................................................................................... 36

Restatement (Second) of Torts
       § 217 ............................................................................................................................. 35
       § 519 ............................................................................................................................. 26
       § 520 ....................................................................................................................... 27, 28
       § 521 ............................................................................................................................. 28



                                                                  - ix -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 11 of 54. PageID #: 1011




                                               OTHER AUTHORITIES

Letter from A. Shaw to Senator M. Cantwell et al. (May 9, 2023),
        https://www.commerce.senate.gov/services/files/9ED3E59A-6BE7-41F8-857A-
        70794EE5C561. ......................................................................................................... 1, 2

Norfolk Southern Working Toward Long-Term Funds to Benefit East Palestine,
       NORFOLK SOUTHERN (Mar. 15, 2023),
       http://nscorp.mediaroom.com/2023-03-14-Norfolk-Southern-working-toward-long-
       term-funds-to-benefit-East-Palestine ................................................................................ 2

Testimony of A. Shaw, Hearing Before the United States Senate Committee on
      Commerce, Science, and Transportation (Mar. 22, 2023),
      https://www.commerce.senate.gov/services/files/6A35F72F-7271-4EAE-A80B-
      E4B620B82573. .............................................................................................................. 1

U.S. Department of Transportation, FRA Audit Report of Norfolk Southern Railway
       Company, FRA Audit Number: 2022-NS Special Audit-01-1 (July 8, 2022),
       https://railroads.dot.gov/sites/fra.dot.gov/files/2022-11/Final%20Norfolk%20
       Southern%20Audit%20Report%202022%20%28003%29.pdf. ...................................... 12




                                                               -x-
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 12 of 54. PageID #: 1012




        Defendants Norfolk Southern Corporation and Norfolk Southern Railway Company

(collectively, “Norfolk Southern”) respectfully submit this Memorandum in Support of their

Motion to Dismiss Plaintiffs’ Master Consolidated Class Action Complaint (Dkt. 31, the

“Complaint”) under Federal Rule of Civil Procedure 12(b)(6) and to Strike under Federal Rule of

Civil Procedure 12(f).

                     INTRODUCTION AND SUMMARY OF ARGUMENT

        This case arises from a train derailment in East Palestine, Ohio, on February 3, 2023.

There was a “resulting fire,” and, two days later, “‘a drastic temperature change in a rail car’”

carrying vinyl chloride risked explosion. Compl. ¶¶ 112, 125, 133. The Governor of Ohio

promptly issued an evacuation order for anyone living within one mile of the derailment. Id.

¶ 133. To prevent an explosion, in coordination with federal, state, and local officials, a

controlled vent and burn of five cars was performed the following day. See id. ¶¶ 133-138.

        The first car to derail did not belong to Norfolk Southern. Nor did Norfolk Southern

construct the wheel bearing that allegedly “overheated” and “caused the train to derail.” Compl.

¶ 122. And Norfolk Southern, as a common carrier, was required by federal law to transport

vinyl chloride, a hazardous chemical with numerous industrial uses.

        Nonetheless, without any finding of fault, Norfolk Southern has undertaken efforts to

assist the people of East Palestine and the surrounding area, including by providing millions of

dollars in financial assistance to residents and businesses. 1 To date, Norfolk Southern has paid

over $16 million directly to residents through its Family Assistance Center. 2 It also has

committed to creating a healthcare fund, a property fund for homeowners who sell their homes,


1
      See, e.g., Compl. ¶ 221 (citing Test. of A. Shaw, Hearing Before the United States Senate Committee on
Commerce, Science, and Transportation (Mar. 22, 2023)).
2
        See, e.g., Ltr. from A. Shaw to Senator M. Cantwell et al. (May 9, 2023).



                                                      -1-
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 13 of 54. PageID #: 1013




and a water-testing fund for East Palestine and surrounding communities. 3 And it is remediating

the site, under the oversight of the Environmental Protection Agency and the EPA’s directives in

the Unilateral Administrative Order for Removal Actions, as well as the Ohio EPA.

        Norfolk Southern deeply regrets the impact this derailment has had on people and

businesses in East Palestine and the surrounding area. Norfolk Southern is committed to making

things right. At the same time, Norfolk Southern must defend itself against unfounded

accusations and legally deficient claims. That is the case here. Plaintiffs’ Complaint is a

misdirected and unsupported attempt to impose legal liability that fails on threshold grounds.

        Seeking to represent a putative class “upwards of 500,000 Class Members” (Compl.

¶ 141), Plaintiffs propose classes and subclasses spanning three States and nearly 3,000 square

miles encompassed by a 30-mile radius around the derailment. The sole basis for that multi-state

class consisting of half-a-million members is one allegation made on “information and belief”:

“the smoke and particulate plume from the ‘controlled release’ eventually traveled a total of 30

miles in each direction.” Id. Putting aside at this stage the individualized, class-preclusive issues

inherent in Plaintiffs’ case—one that proceeds on the theory that a resident within the evacuation

zone is similarly situated to a resident 30 miles away—the Complaint fails at the starting gate for

two independent reasons.

        First, Plaintiffs’ negligence, gross negligence, nuisance, and strict-liability claims are

preempted. Federal law expansively regulates railroad operations, safety, and transportation of

hazardous materials by means of three statutes, each of which contains a broad preemption

provision: the Interstate Commerce Commission Termination Act (“ICCTA”), the Federal




3
       See also, e.g., id.; Norfolk Southern Working Toward Long-Term Funds to Benefit East Palestine,
NORFOLK S. (Mar. 15, 2023); Compl. ¶ 221.



                                                     -2-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 14 of 54. PageID #: 1014




Railroad Safety Act (“FRSA”), and the Hazardous Materials Transportation Act (“HMTA”).

Longstanding case law—including cases involving train derailments and subsequent chemical

releases—makes clear that those statutes preempt the core of Plaintiffs’ case. Thus, the ICCTA

preempts all state laws, including claims like those asserted here, that “‘may reasonably be said

to have the effect of managing or governing rail transportation.’” Adrian & Blissfield R.R. Co. v.

Vill. of Blissfield, 550 F.3d 533, 539 (6th Cir. 2008). The FRSA preempts state-law claims like

Plaintiffs’ concerning railroad safety, which are “substantially subsumed” by the far-reaching

regulations enacted under that statute. Nickels v. Grand Trunk W. R.R., Inc., 560 F.3d 426, 430-

431 (6th Cir. 2009). And the HMTA preempts Plaintiffs’ claims “that relate to, or are ‘about’”

the transportation of hazardous materials—the central feature of the Complaint. See Roth v.

Norfalco, LLC, 651 F.3d 367, 374-375 (3d Cir. 2011).

       Second, Plaintiffs fail to satisfy their pleading burden for all their claims and their request

for punitive damages. Plaintiffs’ claims consistently rely on vague and conclusory allegations

that Norfolk Southern somehow acted improperly in its statutorily required transportation of

hazardous materials and in its efforts to mitigate any potential harm resulting from the

derailment; that “smoke and particulate plume” somehow uniformly traveled 30 miles in every

direction, despite, for example, varying atmospheric conditions; and that the traveling plume

caused unspecified economic loss, property damage, and increased health risk. That does not

satisfy Rule 12(b)(6). And the pleading deficiencies are especially glaring when viewed against

the factual and procedural backdrop of this litigation. Plaintiffs filed this Complaint more than

three months after the incident, amid extensive reporting and public hearings, with the benefit of

the coordinated efforts of numerous firms that previously filed 31 complaints. Yet this

Complaint remains strikingly—and fatally—threadbare. It should be dismissed.




                                                -3-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 15 of 54. PageID #: 1015




                                STATEMENT OF THE ISSUES

       1.      Whether Plaintiffs’ negligence, gross negligence, nuisance, and strict-liability

claims are preempted by the ICCTA, FRSA, and HMTA.

       2.      Whether all of Plaintiffs’ claims and their request for punitive damages are

inadequately pleaded.

                                        BACKGROUND

       On February 3, 2023, a Norfolk Southern train derailed in East Palestine, Ohio. About

“38 of the train cars derailed and an additional twenty railcars were damaged,” and there was a

“resulting fire.” Compl. ¶¶ 112, 125. Two days later, there was “‘a drastic temperature change

in a rail car’” carrying vinyl chloride (id. ¶ 133), a hazardous substance. As Plaintiffs admit,

Norfolk Southern, a common carrier, was required by federal law to accept hazardous substances

for transport. Id. ¶ 62; see 49 U.S.C. § 11101(a).

       Ohio Governor Mike DeWine issued an evacuation order on the evening of February 5

for anyone living within one mile of the derailment site. Compl. ¶ 133. “[T]eams are working to

prevent an explosion from happening,” the Governor explained. Id. But there was “the potential

of a catastrophic tanker failure which could cause an explosion with the potential of deadly

shrapnel traveling up to a mile.” Id. To prevent that, a controlled vent and burn was performed

the following day in coordination with government officials. See id. ¶¶ 135-138.

       Within days of the derailment, multiple lawsuits were filed in this Court, the first of

which was a putative class action. See Feezle v. Norfolk S. Ry. Co., No. 4:23-cv-00242 (N.D.

Ohio). More than 20 putative class actions followed, in addition to numerous individual

complaints. In the main, those complaints were largely similar, grounded in negligence claims.

But they varied in the putative class area definitions: some defined by reference to the




                                                -4-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 16 of 54. PageID #: 1016




evacuation zone (e.g., Eisley, No. 4:23-cv-00250); others, a range of 10 to 30 miles out (e.g.,

Ibel, No. 4:23-cv-00315); and still one more, up to 100 miles out (Battaglia, No. 4:23-cv-00303).

Ultimately, this Court consolidated the cases, appointed interim class counsel, ordered Plaintiffs

to file a master consolidated complaint, and established a briefing schedule for any motion in

response. See Order at 11-12, 21, Dkt. 28.

       In the meantime, there were numerous state and federal hearings on the derailment. Press

reporting was constant. Investigations and regulatory actions commenced. And the EPA issued

a Unilateral Administrative Order for Removal Actions, under which Norfolk Southern is

conducting remediation at the site.

       Amid that highly publicized backdrop, Plaintiffs filed their Complaint on May 4. It is

expansive in its class definition and claims, but lacking in non-conclusory factual allegations.

Plaintiffs seek to represent at least half-a-million members, proposing classes spanning three

States encompassed by a 30-mile radius around the derailment. Those classes include residents,

property owners, employees, and businesses, each with state-based subclasses for Ohio,

Pennsylvania, and West Virginia. See Compl. ¶ 194(1)-(4). Plaintiffs have excluded from their

case “any claims of physical manifestation of personal or bodily harm” (id. ¶¶ 196, 217), but

otherwise seek damages, including punitives, and injunctive relief for various alleged business,

income, and agricultural losses, and medical monitoring. See, e.g., id. ¶ 1.

       Plaintiffs assert 17 claims total, including negligence, negligence per se, and gross

negligence (Counts 1, 17); strict liability (Count 2); statutory, private, and public nuisances

(Counts 3-6); and trespasses (Counts 7-8). Plaintiffs also assert state-law statutory claims

(Counts 9-12), claims for medical monitoring (Counts 13-15), and spoliation (Count 16).




                                                -5-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 17 of 54. PageID #: 1017




       All the claims are largely based on the same underlying allegations arising out of the

derailment and subsequent controlled vent and burn. Generally, Plaintiffs assert that Norfolk

Southern was negligent in unspecified ways and that Plaintiffs, in turn, were injured in equally

unspecified ways. For example, Plaintiffs assert without elaboration: Norfolk Southern

“negligently, carelessly and/or recklessly breached their duties to Plaintiffs and the Class by,

among other things: … [f]ailing to properly inspect their trains and rail cars.” Compl. ¶ 232(a).

Plaintiffs make similar allegations with respect to maintaining, repairing, loading, organizing,

and other core aspects of train operations. Id. ¶ 232(b)-(nn).

       Plaintiffs’ nuisance and trespass claims follow the same model, with unspecified

allegations of improper conduct followed by a recitation of the elements of the claims. For

private nuisance: “Defendants, through the negligent, reckless and/or intentional acts and

omissions alleged herein, have contaminated real property located in the 30-mile radius

surrounding the East Palestine derailment site.” Compl. ¶ 280. And for trespass: “Defendants

… intentionally, knowingly, and negligently used, discharged, spread, deposited and/or released

… hazardous materials knowing that those toxins would contaminate the real property and

drinking water.” Id. ¶ 303. As for medical monitoring, Plaintiffs have disclaimed any physical

injuries. Id. ¶¶ 196, 217. But they assert they are entitled to medical monitoring, as far as 30

miles out from the derailment, based on an asserted “significantly increased risk” of disease. Id.

¶¶ 365, 375, 385.

       The core of Plaintiffs’ case is grounded in key areas of rail transportation that federal law

comprehensively regulates. The ICCTA established the Surface Transportation Board (“STB”),

which has “exclusive” jurisdiction over “transportation by rail carriers,” 49 U.S.C. § 10501, and

has used that power to enact wide-ranging regulations governing virtually all aspects of rail




                                                -6-
     Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 18 of 54. PageID #: 1018




operations, see 49 C.F.R. §§ 1000-1399. The FRSA authorizes the Federal Railroad

Administration (“FRA”) to prescribe regulations related to railroad safety, 49 U.S.C. § 20103(a),

which it has done to achieve the statute’s goal of national uniformity in rail safety, see 49 C.F.R.

§§ 200-299. And the HMTA governs transportation of hazardous materials, like vinyl chloride,

including by directing the Secretary of Transportation to issue regulations “for the safe

transportation … of hazardous materials,” 49 U.S.C. § 5103(b), a directive that the Secretary has

followed, see 49 C.F.R. §§ 171-180. Plaintiffs’ claims are based on conduct that Norfolk

Southern allegedly undertook in this heavily regulated environment.

                                        LEGAL STANDARD

        Under Rule 12(b)(6), “[t]o survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Wamer v. University of Toledo, 27 F.4th 461, 466 (6th Cir. 2022). “[T]he presumption of truth,”

however, “is inapplicable to legal conclusions.” Fisher v. Perron, 30 F.4th 289, 294 (6th Cir.

2022). Moreover, mere “‘labels and conclusions, and a formulaic recitation of the elements of a

cause of action will not do.’” Wamer, 27 F.4th at 466. Under Rule 12(f), a motion to strike

functions “to ‘avoid the expenditure of time and money that must arise from litigating spurious

issues by dispensing with’ them early in the case.” Operating Eng’rs Local 324 Health Care

Plan v. G &W Const. Co., 783 F.3d 1045, 1050 (6th Cir. 2015).

                                            ARGUMENT

I.      FEDERAL LAW PREEMPTS PLAINTIFFS’ NEGLIGENCE, GROSS NEGLIGENCE, NUISANCE,
        AND STRICT-LIABILITY CLAIMS

        Federal law expansively regulates railroad operations and the transportation of hazardous

materials. Multiple federal statutes prescribe rules and procedures that railroads must follow,

and regulations enacted under those statutes govern railway operations, safety and training, and



                                                  -7-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 19 of 54. PageID #: 1019




infrastructure. “[T]he Supreme Court repeatedly has recognized the preclusive effect” of this

comprehensive regulatory scheme in railway litigation. City of Auburn v. United States, 154

F.3d 1025, 1029 (9th Cir. 1998). Here, the core of Plaintiffs’ case is preempted by the ICCTA,

FRSA, and HMTA.

       A.      The ICCTA Preempts Plaintiffs’ Negligence And Gross Negligence Claims
               Concerning Railroad Transportation (Counts 1, 17)

       Congress enacted the ICCTA to “significantly reduce state and local regulation of

railroads.” Maynard v. CSX Transp., Inc., 360 F. Supp. 2d 836, 839 (E.D. Ky. 2004). To that

end, Congress established the STB, 49 U.S.C. § 1301, in which it vested jurisdiction over broad

areas of railway transportation and operations, including:

       (1) transportation by rail carriers, and the remedies provided in this part with
       respect to rates, classifications, rules (including car service, interchange, and other
       operating rules), practices, routes, services, and facilities of such carriers; and

       (2) the construction, acquisition, operation, abandonment, or discontinuance of
       spur, industrial, team, switching, or side tracks, or facilities, even if the tracks are
       located, or intended to be located, entirely in one State[.]

Id. § 10501(b). The ICCTA makes that jurisdiction exclusive by explicitly preempting state laws

that purport to regulate rail transportation: “Except as otherwise provided in this part, the

remedies provided under this part with respect to regulation of rail transportation are exclusive

and preempt the remedies provided under Federal or State law.” Id. State common-law claims

qualify as “regulation” for purposes of § 10501(b). See Tipton v. CSX Transp., Inc., 2016 WL

11501426, at *6-8 (E.D. Tenn. July 7, 2016); see also, e.g., Maynard, 360 F. Supp. 2d at 840

(“federal circuit and district courts … have consistently held that the ICCTA preempts state

common law claims with respect to railroad operations”).

       Consistent with Congress’s intent to uniformly regulate rail transportation, courts in this

Circuit and elsewhere have found a range of state-law claims concerning railroad transportation



                                                 -8-
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 20 of 54. PageID #: 1020




preempted by the ICCTA—including those arising from train derailments. See, e.g., Friberg v.

Kansas City S. Ry. Co., 267 F.3d 439, 443 (5th Cir. 2001) (claims of negligence and negligence

per se, bearing on “train speed, length, and scheduling,” preempted by ICCTA); Tipton, 2016

WL 11501426, at *7-8 (claims related to negligent design, operation, inspection, maintenance,

and repair based on train derailment preempted by ICCTA); Trimbur v. Norfolk S. Ry. Co., 2015

WL 4755205, at *5-8 (S.D. Ohio Aug. 10, 2015) (negligence, gross negligence, and negligence

per se claims concerning track inspection and maintenance based on train derailment preempted

by ICCTA); Maynard, 360 F. Supp. 2d at 843 (nuisance claims premised on alleged drainage

problems caused by railroad track preempted by ICCTA); Rushing v. Kan. City S. Ry. Co., 194 F.

Supp. 2d 493, 499 (S.D. Miss. 2001) (negligence and nuisance claims related to operation of

railway preempted by ICCTA); Guckenberg v. Wis. Cent. Ltd., 178 F. Supp. 2d 954, 958 (E.D.

Wis. 2001) (nuisance claims premised on alleged noise from railroad’s operations preempted

by ICCTA).

       As the Sixth Circuit has explained, the ICCTA “preempts all ‘state laws that may

reasonably be said to have the effect of managing or governing rail transportation.’” Adrian &

Blissfield R.R. Co., 550 F.3d at 539-540. In particular, a state law is preempted when it has “‘the

effect of preventing or unreasonably interfering with railroad transportation.’” Id. Plaintiffs’

negligence and gross negligence claims are premised on allegations that would do just that.

       Routes of rail carriers: Plaintiffs allege that Norfolk Southern was generally negligent

in failing to route the train in a way that would avoid populated areas. Compl. ¶¶ 232(y), 407(o).

But the ICCTA vests exclusive jurisdiction over the routes of rail carriers in the STB. See 49

U.S.C. § 10501(b)(1) (“The jurisdiction of the [STB] over … the remedies provided in this part

with respect to … routes … is exclusive.”). As a result, state-law claims that attempt to regulate




                                                -9-
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 21 of 54. PageID #: 1021




routing, as Plaintiffs’ negligence and gross negligence claims attempt to do, are preempted. See

Suchon v. Wis. Cent. Ltd., 2005 WL 568057, at *3-4 (W.D. Wis. Feb. 23, 2005) (ICCTA

preempted nuisance claims arising from rerouting tracks to create a “bypass track”).

       Train length, organization, and loading of train cars: Plaintiffs generally allege that the

derailed train had “too many rail cars” and that Norfolk Southern improperly organized and

loaded the train cars. Compl. ¶¶ 232(p)-(r), 407(f)-(h). Those allegations again go to activities

central to how railroads operate—the composition of the trains themselves. Plaintiffs’

negligence and gross negligence claims premised on these allegations are preempted because

they would unreasonably burden railroad transportation by imposing duties on Norfolk

Southern’s operations, which fall in the exclusive jurisdiction of the STB. See Friberg, 267 F.3d

at 444 (“Nothing in the … all-encompassing language of the ICCTA’s preemption clause

permit[s] the federal statute to be circumvented by allowing liability to accrue under state

common law, where that liability arises from a railroad’s economic decisions such as those

pertaining to train length[.]”); Diehl v. CSX Transp., Inc., 349 F. Supp. 3d 487, 499-500 (W.D.

Pa. 2018) (“Plaintiff’s allegations that Defendant’s train was not organized in a safe manner” to

safely distribute the weight of rail cars “clearly involve the operation and construction of rail

carrier tracks and facilities, such that they fall within the exclusive jurisdiction of the STB.”).

       B.      The FRSA Preempts Plaintiffs’ Negligence, Gross Negligence, Nuisance, And
               Strict-Liability Claims Concerning Railroad Safety (Counts 1-6, 17)

       The FRSA, as Plaintiffs acknowledge, was enacted “to promote safety in every area of

railroad operations and reduce railroad-related accidents and incidents.” 49 U.S.C. § 20101;

Norfolk S. Ry. Co. v. Shanklin, 529 U.S. 344, 347 (2000); Compl. ¶ 237. The act gives the

Secretary of Transportation “broad powers” to prescribe appropriate rules, regulations, orders,

and standards for all areas of railroad safety. CSX Transp., Inc. v. Easterwood, 507 U.S. 658,



                                                - 10 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 22 of 54. PageID #: 1022




662 (1993). The Secretary has delegated that power to the FRA. See Mich. S. R.R. Co. v. City of

Kendallville, 251 F.3d 1152, 1154 (7th Cir. 2001).

       The FRSA includes an express preemption provision, providing that “[l]aws, regulations,

and orders related to railroad safety … shall be nationally uniform to the extent practicable.” 49

U.S.C. § 20106(a)(1). To that end, the FRSA limits a State’s ability to adopt or enforce laws and

regulations related to railroad safety. A State may do so only “until the Secretary of

Transportation … prescribes a regulation or issues an order covering the subject matter of the

State requirement.” Id. § 20106(a)(2). After the Secretary prescribes such a regulation, a State’s

ability to adopt or continue to enforce an “additional or more stringent” law or regulation related

to railroad safety is even further limited. Id. It may do so only in narrow circumstances when

the state law or regulation (1) “is necessary to eliminate or reduce an essentially local safety

hazard,” (2) “is not incompatible” with a federal law or regulation, and (3) “does not

unreasonably burden interstate commerce.” Id.

       In 2007, Congress amended the FRSA to “clarif[y]” that the preemption provision should

not be “construed” to preempt certain state-law claims—specifically, those “seeking damages for

personal injury, death, or property damage” alleging that a party either (1) failed to comply with

a federal standard of care established by a regulation, (2) failed to comply with its own rule

“created pursuant to a regulation or order” issued by the Secretary of Transportation, or

(3) “failed to comply with a State law, regulation, or order that is not incompatible with

subsection (a)(2).” 49 U.S.C. § 20106(b)(1); see Nickels, 560 F.3d at 432 (describing 2007

amendment). Following that amendment, courts have described FRSA preemption analysis as a

“two-step process.” Zimmerman v. Norfolk S. Corp., 706 F.3d 170, 178 (3d Cir. 2013). First,

courts ask whether a plaintiff plausibly alleges that a defendant violated either (1) a federal




                                                - 11 -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 23 of 54. PageID #: 1023




standard of care or (2) an internal rule that was created pursuant to federal regulation. Id.; see

49 U.S.C. § 20106(b)(1)(A)-(B). If so, the claim avoids preemption. Second, if a plaintiff

makes no such plausible allegations, courts then determine whether any federal regulation

“cover[s]” the claim. Zimmerman, 706 F.3d at 178; see 49 U.S.C. § 20106(a)(2), (b)(1)(C). A

claim is “covered,” and therefore preempted, “if a FRSA regulation substantially subsumes the

subject matter of the suit.” Nickels, 560 F.3d at 430-31. Plaintiffs’ claims fail both steps.

               1.          Plaintiffs have not plausibly alleged that Norfolk Southern violated a
                           federal standard of care or an internal rule that was created pursuant
                           to federal regulation

         As to a federal standard of care, Plaintiffs allege, “upon information and belief,” that

Norfolk Southern violated “one or more regulations,” listing a host of regulations that Norfolk

Southern purportedly violated. Compl. ¶ 237. They also allege, without elaboration, that

Norfolk Southern violated dozens of duties, some of which reflect duties imposed by federal

regulations. See id. ¶ 232. But Plaintiffs make no attempt to explain with plausible factual

allegations how Norfolk Southern violated any purported federal regulation or duty imposed by

federal regulations. Such bare pleading does not meet the requirements under Rule 12(b)(6). 4 In

any event, the Complaint notably does not allege that Norfolk Southern violated several

regulations covering conduct at the core of their claims, including 49 C.F.R. §§ 213 (Track

Safety Standards), 240 (Qualification and Certification of Locomotive Engineers), 242

(Qualification and Certification of Conductors), 243 (Training, Qualification, and Oversight for

Safety-Related Railroad Employees), 171 (Hazardous Materials Regulations; General


4
         Plaintiffs’ allegations are not simply unsupported; they are undermined by materials Plaintiffs reference in
their Complaint. Plaintiffs have incorporated by reference the FRA’s July 2022 Audit Report of Norfolk Southern.
Compl. ¶ 103 n.6. That report states that an FRA audit conducted from January 2022 through early May 2022
showed that, “in many aspects, NS programs are largely effective and compliant with relevant safety regulations.”
U.S. Dep’t of Transp., FRA Audit Report of Norfolk Southern Railway Company, FRA Audit Number: 2022-NS
Special Audit-01-1, at 4 (July 8, 2022).



                                                       - 12 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 24 of 54. PageID #: 1024




Information, Regulations, and Definitions), 172 (Hazardous Materials Table, Special Provisions,

Hazardous Materials Communications, Emergency Response Information, Training

Requirements, and Security Plans), 178 (Specifications for Packaging). Thus, Plaintiffs have

failed to plead that Norfolk Southern “has failed to comply” with a federal standard of care. See

49 U.S.C. § 20106(b)(1)(A).

       Plaintiffs’ claims fare no better as to an internal operating rule “created pursuant to a

regulation.” 49 U.S.C. § 20106(b)(1)(B). After acknowledging the broad scope of the FRSA

(Compl. ¶ 237), Plaintiffs assert the FRSA authorizes railroads to adopt “additional or more

stringent requirements” and that Norfolk Southern adopted “a comprehensive set of operating

rules which apply to their operations,” Operating Rule 140 (which relates to employees

inspecting trains), and that Norfolk Southern violated Operating Rule 140 “regarding train

inspections.” Compl. ¶ 239. That is a familiar tactic that courts have rejected. “[T]he

overwhelming majority of federal courts to address this issue have concluded that a railroad

operating rule is only created ‘pursuant to’ federal law if a specific regulation affirmatively

mandates adoption of the rule.” Tipton v. CSX Transp., Inc., 2017 WL 10398182, at *21 (E.D.

Tenn. Oct. 25, 2017). Plaintiffs identify no regulation that “affirmatively mandate[d]” that

Norfolk Southern adopt Operating Rule 140 or any other set of operating rules. Instead,

Plaintiffs allege that the FRSA merely “authorizes” railroads to adopt such operating rules.

Compl. ¶ 239. As a result, they have not alleged that Norfolk Southern “failed to comply with its

own plan … that it created pursuant to a regulation or order.” 49 U.S.C. § 20106(b)(1)(B).




                                               - 13 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 25 of 54. PageID #: 1025




             2.        Plaintiffs’ negligence, gross negligence, nuisance, and strict-liability
                       claims premised on railroad safety are “covered” by FRSA
                       regulations

       Because Plaintiffs have not plausibly alleged that Norfolk Southern violated a federal

standard of care or an internal rule created pursuant to a federal regulation, their claims of

negligence, gross negligence, nuisance, and strict liability concerning railroad safety are

preempted if they are “cover[ed]” by FRSA regulations. Zimmerman, 706 F.3d at 178; see

49 U.S.C. § 20106(a)(2), (b)(1)(C). As noted, a state-law claim is “covered … if a FRSA

regulation substantially subsumes the subject matter of the suit.” Nickels, 560 F.3d at 429. “[A]

regulatory framework need not impose bureaucratic micromanagement in order to substantially

subsume a particular subject matter.” In re Derailment Cases, 416 F.3d 787, 794 (8th Cir. 2005).

Plaintiffs’ negligence, gross negligence, nuisance, and strict-liability claims—premised on

allegations imposing duties on Norfolk Southern concerning railroad safety—plainly fall within

the “substantially subsumed” standard.

       Inspection: Plaintiffs generally allege that Norfolk Southern failed to properly inspect or

monitor the rail tracks and cars, including by failing to maintain “vigilant lookout during the

operation of its trains and cars.” Compl. ¶¶ 232(a)-(g), (k)-(m), 407(a)-(e). Claims based on

those allegations are substantially subsumed by FRSA regulations, which regulate inspection of

rail tracks and cars. For example, 49 C.F.R. Part 213, titled “Track Safety Standards,” details

federal standards related to track safety, including “Inspection” of tracks, which is governed by

Subpart F. See 49 C.F.R. §§ 213 et seq. That subpart “prescribes the requirements for the

frequency and manner of inspecting [the] track to detect deviations from the standards prescribed

in this part.” Id. § 213.231. Similarly, 49 C.F.R. Part 215, titled “Railroad Freight Car Safety

Standards,” prescribes safety standards for railroad cars and covers the field related to inspection

of train cars. See 49 C.F.R. § 215.1. Those standards include provisions related to pre-departure


                                                - 14 -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 26 of 54. PageID #: 1026




inspections, periodic inspections, and the inspectors themselves. See id. §§ 215.11 (“Designated

Inspectors”), 215.13 (“Pre-Departure Inspection”), 215.15 (“Periodic Inspection”). It further

includes a “Pre-departure Inspection Procedure” that railroads must follow when a designated

inspector is not on duty. See App. D to 49 C.F.R. Part 215. In view of this comprehensive

federal regulation of track and train-car inspections, courts hold that claims based on inadequate

inspections are preempted by the FRSA. See, e.g., In re Derailment Cases, 416 F.3d at 794

(negligence claim based on inadequate inspection of train, brought following derailment and

resultant chemical release, preempted by FRSA); Tipton, 2016 WL 11501426, at *11 (negligence

claim premised on alleged failure to maintain lookout preempted by FRSA); Bradford v. Union

Pac. R.R. Co., 491 F. Supp. 2d 831, 839 (W.D. Ark. 2007) (state-law claims based on negligent

inspection preempted by FRSA). Plaintiffs’ negligence claims premised on improper inspection

or monitoring of tracks or cars are thus preempted.

         That case law also applies to preempt Plaintiffs’ claims alleging inadequate inspection

and monitoring with respect to “wayside detectors” or “hot-box detectors,” which “alert

operators to equipment failures while the train is in operation.” Compl. ¶¶ 105, 232(l), 407(b).

As noted, Part 215 (“Railroad Freight Car Safety Standards”) covers the field related to

inspection of train cars. Hot-box detectors, as Plaintiffs allege, are one means by which Norfolk

Southern can inspect trains following a Part 215 pre-departure inspection. See id. ¶ 116. Yet

Part 215, which covers train inspection, does not require use of hot-box detectors. 5 Therefore, to

the extent Plaintiffs’ claims are premised on allegations related to hot-box detectors, such claims




5
         By contrast, Part 215 includes regulations related to overheated wheels and defective roller bearings, which
cover the same subject matter as Plaintiffs’ allegations concerning hot-box detectors. See, e.g., 49 C.F.R.
§§ 215.103(h), 215.115.


                                                       - 15 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 27 of 54. PageID #: 1027




are preempted. See Tipton, 2016 WL 11501426, at *11 (negligence claim preempted to the

extent premised on allegedly defective hot-box detectors).

       Training: Plaintiffs generally allege that Norfolk Southern was negligent in failing to

properly train railroad personnel. Compl. ¶¶ 232(s)-(x), (aa)-(bb), 407(i)-(n). Claims premised

on those allegations are preempted because federal regulations substantially subsume the subject

matter—namely, qualification and training of railroad personnel. For example, 49 C.F.R. Part

240, titled “Qualification and Certification of Locomotive Engineers,” sets the training and

certification requirements for engineers and the approval process for such training programs. 49

C.F.R. § 240.1(b). That part establishes “[c]riteria for consideration of operating rules

compliance,” id. § 240.117, and requirements for training programs, see id. § 240.123. Part 242

sets similar requirements for train conductors. See 49 C.F.R. § 242.1(b); see also, e.g., id.

§ 242.101 (requiring conductor certification program); id. § 242.103 (requiring FRA approval of

certification program); id. § 242.119 (outlining requirements of conductor training). Finally, Part

243, titled “Training, Qualification, and Oversight for Safety-Related Railroad Employees,”

establishes comparable requirements concerning other “safety-related” railroad employees. See,

e.g., id. § 243.103 (identifying requirement components of training program); id. § 243.109

(outlining procedure for approval of training program); id. § 243.201 (establishing requirements

for safety-related employees).

       These regulations substantially subsume Plaintiffs’ negligence claims, as premised on

allegations related to inadequate training. See Trimbur, 2015 WL 4755205, at *9 (“The FRSA

prescribes ‘safety standards for the eligibility, training, testing certification and monitoring of all

locomotive engineers to whom it applies.’ These regulations substantially subsume the hiring,

training and supervision of persons operating a locomotive or train.”); see also Burlington N. &




                                                 - 16 -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 28 of 54. PageID #: 1028




Santa Fe Ry. Co. v. Doyle, 186 F.3d 790, 796-797 (7th Cir. 1999) (state laws concerning train-

crew qualifications preempted).

        Transportation of hazardous materials: Plaintiffs generally allege that Norfolk

Southern was negligent in its transportation of allegedly hazardous materials. See Compl.

¶¶ 232(c), (h)-(k), (m)-(o), (s), (y)-(z), (bb)-(mm), 407(m), (p), (r)-(cc). They also assert a strict-

liability claim and nuisance claims based on Norfolk Southern’s transportation of allegedly

hazardous materials. See id. ¶¶ 244-253, 259, 271, 286, 293. Allegations concerning the

transportation of hazardous materials are substantially subsumed within regulations promulgated

under the FRSA (as well as the HMTA, as discussed below). See, e.g., 49 C.F.R. §§ 209

(Railroad Safety Enforcement Procedures), 213 (Track Safety Standards), 214 (Railroad

Workplace Safety), 215 (Railroad Freight Car Safety Standards), 229 (Railroad Locomotive

Safety Standards), 231 (Railroad Safety Appliance Standards), 232 (Brake System Safety

Standards for Freight and Other Non-Passenger Trains and Equipment; End of Train

Devices), 270 (System Safety Program), 271(Risk Reduction Program), 272 (Critical Incident

Stress Plans), 171 (Hazardous Materials Regulations; General Information, Regulations, and

Definitions), 172 (Hazardous Materials Table, Special Provisions, Hazardous Materials

Communications, Emergency Response Information, Training Requirements, and Security

Plans), 174 (Carriage by Rail), 178 (Specifications for Packaging), 179 (Specifications for Tank

Cars). 6 Indeed, “there are myriad safety regulations applicable to the transportation of hazardous

material.” Trimbur, 2015 WL 4755205, at *6. Courts therefore hold that claims concerning the

transportation of hazardous material, and the routes guiding that transportation—like Plaintiffs’


6
         Because FRSA preemption applies to all rail-safety regulations promulgated by the Secretary of
Transportation, the Sixth Circuit has held that FRSA preemption analysis applies to the HMTA regulations. See
CSX Transp., Inc. v. Pub. Util. Com’n, 901 F.2d 497, 502 (6th Cir. 1990); see also Trimbur, 2015 WL 4755205, at
*5 (“[T]he FRSA preemption analysis applies to the HMTA.”).



                                                     - 17 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 29 of 54. PageID #: 1029




here—are preempted by the FRSA. See, e.g., Trimbur, 2015 WL 4755205, at *6 (strict-liability

claim concerning use and condition of railway tank cars preempted by the FRSA and HMTA);

Sanders v. Norfolk S. Corp., 2010 WL 297813, at *4 (D.S.C. Jan. 20, 2010) (strict-liability claim

concerning transportation of hazardous materials preempted by FRSA and HMTA); Self v.

Norfolk S. Corp., 2007 WL 540373, at *4 (D.S.C. Feb. 15, 2007) (strict-liability claim preempted

by FRSA and HMTA).

             3.        The exception for “additional or more stringent” laws under
                       49 U.S.C. § 20106(a)(2) is inapplicable

       Plaintiffs cannot avoid preemption by means of 49 U.S.C. § 20106(a)(2). Under that

provision, state-law claims can avoid preemption only if (1) they are necessary to eliminate or

reduce an essentially local safety hazard, (2) they are not incompatible with a federal regulation,

and (3) they do not unreasonably burden interstate commerce. 49 U.S.C. § 20106(a)(2); see also

Nickels, 560 F.3d at 432. Plaintiffs have not alleged that their claims meet any of these

requirements, let alone all three. Nor could they.

       First, the duties Plaintiffs seek to impose upon Norfolk Southern through their generic

allegations are not necessary to eliminate or reduce an essentially local safety hazard. “Local

safety hazards must be ones that are ‘not capable of being adequately encompassed within

uniform national standards’ and are ‘not statewide in character.’” Tipton, 2016 WL 11501426,

at *11. The risks that the duties purport to minimize here—allegedly, the risk of a train

derailing—are not local hazards specific to a particular area. Id. at *12 (“This condition—the

possibility of a rail car derailing—is capable of being present at many sites, and thus is not a

specific, individual hazard.”). Second, as discussed, Plaintiffs’ claims are incompatible with the

comprehensive regulations promulgated under the FRSA (and the HMTA). To the extent the

generic duties advocated by Plaintiffs concerning inspection, training, and transportation of



                                               - 18 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 30 of 54. PageID #: 1030




hazardous materials were imposed on Norfolk Southern, Norfolk Southern would be required to

go beyond the duties imposed by federal regulations. See id. (claims related to negligent

inspection preempted by FRSA, including because alleged duties go beyond those required by

FRSA). Third, imposing additional, state-specific obligations related to inspection, training, and

transportation of hazardous materials on Norfolk Southern irrespective of, and in conflict with,

federal regulations would unduly burden interstate commerce. Id. (alleged duties related to

wheel bearings and lookouts “have the potential to unreasonably burden interstate commerce”).

       C.      The HMTA Preempts Plaintiffs’ Negligence, Gross Negligence, Nuisance,
               And Strict-Liability Claims Concerning The Transportation Of Hazardous
               Materials (Counts 1-6, 17)

       Congress enacted the HMTA to “restructure a national environment in which ‘many

States and localities had enacted laws and regulations that varied from Federal laws and

regulations pertaining to the transportation of hazardous materials, thereby confounding carriers

attempting to comply with multiple and conflicting regulatory requirements.’” Roth, 651 F.3d at

377. To eliminate that variation, Congress established “a uniform, national scheme of regulation

regarding the transportation of hazardous materials.” Id. The “linchpin” of that scheme is

HMTA’s preemption provision, which “displaces an array of state and local law.” Id. at 374,

378; see 49 U.S.C. § 5125. That provision preempts state requirements (1) that are “about” any

of the following subjects and (2) that are not “substantively the same” as what is required under

federal law:

       (A) the designation, description, and classification of hazardous material.

       (B) the packing, repacking, handling, labeling, marking, and placarding of
           hazardous material.

       (C) the preparation, execution, and use of shipping documents related to
           hazardous material and requirements related to the number, contents, and
           placement of those documents.



                                              - 19 -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 31 of 54. PageID #: 1031




         (D) the written notification, recording, and reporting of the unintentional release
            in transportation of hazardous material and other written hazardous materials
            transportation incident reporting involving State or local emergency
            responders in the initial response to the incident.

         (E) the designing, manufacturing, fabricating, inspecting, marking, maintaining,
             reconditioning, repairing, or testing a package, container, or packaging
             component that is represented, marked, certified, or sold as qualified for use in
             transporting hazardous material in commerce.

49 U.S.C. § 5125(b)(1); see also, e.g., Roth, 651 F.3d at 374-379 (plaintiff’s tort claims with

respect to design of chemical tank car preempted under HMTA).

         First, the HMTA applies to Plaintiffs’ negligence, gross negligence, nuisance, and strict-

liability claims as premised on allegations related to the routing and handling of hazardous

materials, the reporting of the unintentional release of such materials, and the inspection and

maintenance of the container used to transport such materials. 7 Plaintiffs allege, for example,

that Norfolk Southern was negligent by “[a]ccepting and transporting shipments of hazardous

material that had pressure relief devices made of materials that were incompatible with the

lading,” “[f]ailing to operate, maintain, inspect and/or repair the railway and railcars in such a

way to ensure their safe and proper operation, particularly when transporting hazardous

materials,” “[f]ailing to route railcars carrying hazardous materials in such a way as to avoid

populated areas,” “[f]ailing to adequately warn those in danger of exposure to hazardous

chemicals,” and failing to respond to the derailment and release of hazardous materials. Compl.

¶ 232(b), (k), (y), (z), (bb)-(ee); see also id. ¶¶ 247-48, 259, 271, 286, 293, 407(m), (p), (r)-(cc).

Those allegations are clearly “about” subjects identified in § 5125(b)(1). See 49 U.S.C.




7
         Plaintiffs allege that Norfolk Southern was carrying, among other things, vinyl chloride and that vinyl
chloride is classified as a hazardous material subject to the HMTA. See Compl. ¶¶ 144-193; see also 49 C.F.R.
§ 172.101.



                                                       - 20 -
    Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 32 of 54. PageID #: 1032




§ 5125(b)(1)(B) (“handling”), (D) (“reporting of the unintentional release”), (E) (“designing, …

inspecting, … maintaining” a container).

         Second, Plaintiffs’ claims would impose duties that are not “substantively the same” as

requirements under federal law.8 A state requirement is “substantively the same” as a federal

requirement, and thus immune from preemption, only when it “conforms in every significant

respect” to the federal requirement. Roth, 651 F.3d at 377. Here, HMTA regulations provide

requirements concerning transportation of hazardous materials by rail, including specific

requirements for Class 2 (Gases) Materials. See 49 C.F.R. §§ 174.200 et seq. They also detail

the specifications for tank cars, id. § 179, and requirements for providing notice of hazardous

material incidents, id. §§ 171.15 et seq. They also require rail carriers that transport certain

materials to engage in annual route analysis. Id. § 172.820. Plaintiffs’ generic allegations do not

allege duties that are the same as the requirements imposed under these HMTA regulations.

         Courts regularly find that the HMTA preempts state-law claims like those asserted by

Plaintiffs. See, e.g., Roth, 651 F.3d at 374-380 (negligence and strict-liability claims preempted

by HMTA); Parrish v. JCI Jones Chemicals, Inc., 2019 WL 1410880, at *2-5 (D. Haw. Mar. 28,

2019) (negligence and strict-liability claims related to transporting hazardous materials

preempted by HMTA); Mawa Inc. v. Univar USA Inc., 2016 WL 2910084, at *5-6 (E.D. Pa.

May 19, 2016) (negligence claims related to transporting hazardous materials preempted by

HMTA); Trimbur, 2015 WL 4755205, at *6 (negligence, gross negligence, negligence per se,

and strict-liability claims related to inspection and design of cars preempted by HMTA);

Scarbrough v. Coleman Co., 2013 WL 3825248, at *3 (D. Colo. July 24, 2013) (failure-to-warn


8
         Under the HMTA, Congress directed the Secretary of Transportation to “prescribe regulations for the safe
transportation, including security, of hazardous materials in intrastate, interstate, and foreign commerce.” 49 U.S.C.
§ 5103(b)(1). Consistent with that directive, the Secretary of Transportation has broadly regulated the transportation
of hazardous materials by rail and other modes of transportation. See 49 C.F.R. §§ 171-180.



                                                       - 21 -
     Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 33 of 54. PageID #: 1033




claims preempted by HMTA); Sanders, 2010 WL 297813, at *4 (strict-liability claim concerning

transportation of hazardous materials preempted by HMTA and FRSA); Self, 2007 WL 540373,

at *4 (same). The same result is warranted here.

    II.   PLAINTIFFS FAIL TO SATISFY THEIR PLEADING BURDEN AS TO ALL THEIR CLAIMS
          AND REQUEST FOR PUNITIVE DAMAGES

          For the foregoing reasons, Plaintiffs’ negligence, gross negligence, nuisance, and strict

liability claims are preempted by federal law. Independently, all of Plaintiffs’ claims and their

request for punitive damages fail because Plaintiffs have not satisfied their pleading burden.

          A.      Plaintiffs’ Negligence And Gross Negligence Claims Fail (Counts 1, 17)

               1.          Plaintiffs fail to plead breach or resulting injury

          A plaintiff claiming negligence must plead facts showing the “existence of a duty, the

breach of the duty, and injury resulting proximately therefrom.” Strother v. Hutchinson, 423

N.E.2d 467, 469 (Ohio 1981). 9 Plaintiffs allege that Norfolk Southern was generally negligent

(Compl. ¶¶ 229-232), and that such negligence caused unspecified economic losses, heightened

health risks, and property damage (id. ¶ 240), from smoke that purportedly traveled 30 miles in

every direction from the derailment site (id. ¶¶ 141, 240). These allegations are

fundamentally lacking.

          Plaintiffs fail to allege facts plausibly showing that Norfolk Southern breached any

applicable duty of care. For example, Plaintiffs allege in general terms a range of negligent

training practices (Compl. ¶¶ 232(t)-(x)), but fail to allege, with any plausible factual allegations,




9
          For purposes of this motion only, Norfolk Southern assumes, without conceding, that Ohio law applies to
Plaintiffs’ claims unless the Complaint expressly states that another State’s law applies. See, e.g., Wilkins v. Navy
Fed. Credit Union, 2023 WL 239976, at *18 n.15 (D.N.J. Jan. 18, 2023) (for purposes of resolving motion to
dismiss in putative class action, deferring choice-of-law analysis to later stage); see also Asp v. Toshiba Am.
Consumer Prod., LLC, 616 F. Supp. 2d 721, 726 (S.D. Ohio 2008) (recognizing that when a party acquiesces to the
application of a state’s law, a court need not resolve choice-of-law issue on motion to dismiss).



                                                       - 22 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 34 of 54. PageID #: 1034




any deficiencies in Norfolk Southern’s training, or even how training was at all implicated in the

derailment. See Farm Bureau Gen. Ins. Co. v. Schneider Nat’l Carriers, 552 F. Supp. 3d 750,

760-761 (S.D. Ohio 2021) (merely stating that truckers were not trained was insufficient to plead

negligent training). Plaintiffs similarly allege that Norfolk Southern failed “to properly inspect

their trains and railcars” (Compl. ¶ 232(a)), but provide no elaboration. Relying on “‘labels and

conclusions,’” and “‘formulaic recitation of the elements … will not do.’” Wamer, 27 F.4th

at 466.

          Plaintiffs’ causation allegations are similarly deficient. Their theory relies on an

allegation that, “[u]pon information and belief, the smoke and particulate plume from the

‘controlled release’ eventually traveled a total of 30 miles in each direction from the Derailment

Site, contaminating the air, surfaces, soil, and water of upwards of 500,000 Class Members.”

Compl. ¶ 141. This does not satisfy Plaintiffs’ pleading burden. Consider Salerno v. City of

Niagara Falls, 2020 WL 5814406 (W.D.N.Y. Sept. 30, 2020), aff’d, 2021 WL 4592138 (2d Cir.

2021), which involved a chemical spill and bare allegations on “‘information and belief’” about

how the chemicals reached the plaintiffs. Id. at *6. There, the district court held that, without an

allegation about how the chemicals could plausibly reach the plaintiffs’ homes, the complaint

was too speculative to survive because it left “substantial gaps on key questions of migration,

exposure, and causation.” Id. Plaintiffs similarly have left “substantial gaps” here. They have

made no attempt to plausibly allege any connection between the alleged misconduct (such as

failing to inspect trains and railcars (Compl. ¶ 232(a))), and the alleged harm (contamination of

their properties, including those up to 30 miles away, by means of a plume of smoke, (id.

¶ 141)). Such an attenuated causal chain is missing key allegations to plausibly link Norfolk

Southern’s purported misconduct with Plaintiffs’ alleged harm. See Pinares v. United Techs.




                                                  - 23 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 35 of 54. PageID #: 1035




Corp., 2011 WL 240522, at *2 (S.D. Fla. Jan. 19, 2011) (dismissing negligence claim based on

contamination where plaintiffs “fail[ed] to allege a causal relationship between any actions by

Defendant and Plaintiffs’ claimed damages”).

       Plaintiffs’ negligence claims also fail because the Complaint does not adequately plead

that Plaintiffs suffered harm. See, e.g., Fed. Steel & Wire Corp. v. Ruhlin Constr. Co., 543

N.E.2d 769, 772 (Ohio 1989) (“an injury proximately resulting” from negligent conduct is

required); U.S. Fire Ins. Co. v. Ohio High Sch. Athletic Ass’n, 595 N.E.2d 418, 420 (Ohio Ct.

App. 1991) (“negligent conduct without injury is not actionable”). Plaintiffs explicitly disavow

any “physical manifestation of personal or bodily injury.” Compl. ¶ 196. The remainder of their

injuries include bare assertions of harm, including loss of “goodwill,” “annoyance, upset,

aggravation, inconvenience,” and the like. See id. ¶ 240. The Complaint merely states, without

support, that property and crops were harmed. See, e.g., id. ¶¶ 240, 330. The Complaint does

not specify how or in what ways the property was harmed. Nor does it explain how, for

example, in winter in Northern Ohio, Pennsylvania, and West Virginia, crops were damaged.

These bare allegations of “property damage,” without factual support of what that damage is, are

insufficient. See, e.g., Hoffer v. Cooper Wiring Devices, Inc., 2007 WL 1725317, at *6 (N.D.

Ohio June 13, 2007) (general allegation that faulty product causes property damage insufficient

without pleading that plaintiff personally suffered a present injury).

       Salerno is again instructive. There, the court granted the defendants’ motion to dismiss

even where the plaintiffs arguably had pleaded some exposure, citing studies that showed some

level of contamination on their properties. Salerno, 2020 WL 5814406, at *2. Here, Plaintiffs

have done even less—they simply assert, without elaboration, that a plume traveled 30 miles in

every direction (Compl. ¶ 141), somehow necessarily resulting in contamination of air, soil, and




                                               - 24 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 36 of 54. PageID #: 1036




water (see, e.g., id. ¶ 42). That is not enough to plead a claim for negligence.

               2.        Purported violations of federal regulations do not constitute
                         negligence per se, and plaintiffs fail to plead any regulatory violations

          Plaintiffs’ negligence per se claim (also asserted in Count 1) has further deficiencies.

Under Ohio law, purported “violations of federal regulations,” like those asserted here, “cannot

serve as a separate claim for negligence per se.” Jackson v. Arka Express, Inc., 2022 WL

1136771, at *3 (N.D. Ohio Apr. 18, 2022). A contrary holding would “‘bestow upon

administrative agencies the ability to propose and adopt rules which alter the proof requirements

between litigants’”—a public policy determination that properly belongs with the legislature.

Id.; see also, e.g., Chambers v. St. Mary’s Sch., 697 N.E.2d 198, 203 (Ohio 1998) (“violation of

an administrative rule does not constitute negligence per se”); Sheldon v. Kettering Health

Network, 40 N.E.3d 661, 674 (Ohio Ct. App. 2015) (violation of HIPAA administrative rules

cannot be the basis for negligence per se). Moreover, Plaintiffs’ allegations only state, “on

information and belief,” that Norfolk Southern breached federal regulations—without attempting

to explain which actions breached which regulations, or what the regulations require. See

Compl. ¶ 237. All Plaintiffs have done is cite a host of regulations that are not tied to any

specific allegation. That does no more than name the law and is insufficient to plead negligence

per se.

               3.        Plaintiffs’ gross negligence claim fails to plead the requisite mens rea

          Plaintiffs’ gross negligence claim (Count 17) fails for the same reasons as their

negligence claim. CBC Eng’rs & Assoc. Ltd. v. Miller Aviation, LLC, 880 F. Supp. 2d 883, 887-

888 (S. D. Ohio 2012) (“To establish gross negligence, all elements of negligence must exist.”).

And it fails for an additional reason: the Complaint fails to allege facts showing that Norfolk

Southern engaged in “willful and wanton misconduct,” Mohat v. Hovarth, 2013 WL 5450296, at



                                                 - 25 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 37 of 54. PageID #: 1037




*4 (Ohio Ct. App. Sept. 30, 2013), which requires (1) “‘an act done intentionally, designedly,

knowingly, or purposely, without justifiable excuse’” (willful), and (2) an act “‘done in reckless

disregard of the rights of others which evinces a reckless indifference of the consequences to the

life, limb, health, reputation, or property of others’” (wanton), Steward v. City of Columbus,

1998 WL 598433, at *6 (Ohio Ct. App. Sept. 10, 1998). “‘Recklessness’” means “‘a perverse

disregard for a known risk.’” Id. The Complaint includes no allegations that approach

permitting an inference that Norfolk Southern acted intentionally to cause any alleged harms to

Plaintiffs, much less “without justifiable excuse” or “perverse disregard for a known risk.”

       B.      Plaintiffs’ Strict-Liability Claim Fails (Count 2)

       Plaintiffs’ strict-liability claim should be dismissed for two reasons. First, Plaintiffs have

failed to plausibly allege that rail transportation of hazardous materials or any other conduct by

Norfolk Southern constitutes abnormally dangerous activity subject to strict liability. Second, in

any event, any such conduct would fall within the common-carrier exception to strict liability.

             1.        Plaintiffs fail to plead conduct constituting an abnormally dangerous
                       activity subject to strict liability

       Under a strict-liability theory, an individual who “carries on an abnormally dangerous

activity” may be held liable for harm “resulting from the activity,” even when they have

“exercised the utmost care to prevent the harm.” Restatement (Second) of Torts § 519; see also

Doherty v. Ohio State Univ., 1990 WL 86772, at *3 n.1 (Ohio Ct. App. June 26, 1990). “Under

Ohio law, [t]he types of activities that qualify as ultrahazardous/abnormally dangerous is quite

limited.” In re Behr Dayton Thermal Prods. Litig., 2022 WL 3328407, at *10 (S.D. Ohio Aug.

11, 2022). To determine whether an activity is “abnormally dangerous,” courts consider these

six factors: (1) the “existence of a high degree of risk of some harm to the person, land, or

chattels of others”; (2) the “likelihood that the harm that results from it will be great”; (3) the



                                                 - 26 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 38 of 54. PageID #: 1038




“inability to eliminate the risk by” the “exercise of reasonable care”; (4) the “extent to which the

activity is not a matter of common usage”; (5) the “inappropriateness of the activity to the place

where it is carried on”; and (6) the “extent to which its value to the community is outweighed by

its dangerous attributes.” Restatement (Second) of Torts § 520; see also Hirsch v. CSX Transp.,

Inc., 2008 U.S. Dist. LEXIS 124211, at *14-15 (N.D. Ohio Oct. 22, 2008) (applying Section 520

to determine whether an activity is “abnormally dangerous” under Ohio law). Typically,

“several” of these factors “will be required for strict liability.” Restatement (Second) of Torts

§ 520 cmt. f.

       Plaintiffs have failed to plausibly allege that conduct by Norfolk Southern constitutes

abnormally dangerous activity subject to strict liability. The Complaint offers only the

conclusory allegations that Norfolk Southern engaged in such activities (1) “by transporting

hazardous substances, including but not limited to vinyl chloride, through a residential

community,” and (2) “when they dumped the vinyl chloride they were transporting and lit it on

fire in a residential community.” Compl. ¶¶ 247-248. Courts routinely reject similarly

conclusory allegations as insufficient. See, e.g., Hirsch, 2008 U.S. Dist. LEXIS 124211, at *15-

16 (dismissing strict-liability claim because “Plaintiffs’ bare contention that CSXT engaged in an

abnormally dangerous activity is merely a conclusory allegation or legal conclusion

masquerading as a factual allegation”); Looman v. Montana, 2012 WL 5287951, at *4 (D. Mont.

Aug. 23, 2012) (dismissing strict-liability claim where plaintiff did “not present any factual

information in support of [his] conclusory allegations”), report and recommendation adopted,

2012 WL 5287946 (D. Mont. Oct. 24, 2012). Indeed, a complaint must allege specific facts

supporting the relevant strict-liability factors. See, e.g., Looman, 2012 WL 5287951, at *4

(dismissing strict-liability claim where plaintiff “merely recite[d] the elements and factors of a




                                               - 27 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 39 of 54. PageID #: 1039




strict liability theory of recovery”); Bd. of Cty. Comm’rs of Cty. of La Plata v. Brown Gp. Retail,

Inc., 598 F. Supp. 2d 1185, 1196 (D. Colo. 2009) (“Although Plaintiff’s complaint states that

each of the Restatement (Second) of Torts § 520 factors are met, Plaintiff merely recites the

factors a court should consider without alleging specific facts in support.”).

       It is no surprise that Plaintiffs have not alleged that the Section 520 factors are satisfied,

let alone allege specific facts in support of those factors. As the district court in Hirsch

recognized, there is an inherent contradiction in Plaintiffs’ negligence and strict-liability claims:

       Plaintiffs’ allegations cannot possibly satisfy the strict liability requirement of
       inability to eliminate risk of harm by exercising reasonable care. Plaintiffs have
       brought a claim for negligence, necessarily requiring allegations that Defendant is
       liable because it failed to exercise reasonable care. Plaintiffs cannot allege that
       Defendant is liable for harm caused by not exercising reasonable care in
       conducting an activity while also alleging that the risk of harm of that activity
       cannot be eliminated by exercising reasonable care.

2008 U.S. Dist. LEXIS 124211, at *15.

       The Complaint is multiple steps removed from pleading that any conduct by Norfolk

Southern constitutes “abnormally dangerous activity” falling within “the very narrow scope of

activities for which Ohio imposes strict liability.” In re Behr Dayton, 2022 WL 3328407, at *11.

             2.        Rail transportation of hazardous materials, and conduct incident to
                       such transportation, falls within the common-carrier exception to
                       strict liability

       Plaintiffs’ strict-liability claim fails for another reason. Assuming Plaintiffs had plausibly

alleged abnormally dangerous activity, Norfolk Southern cannot be liable for harm that allegedly

resulted because it falls within the common-carrier exception. There is good reason for that

exception: Common carriers are required to engage in certain conduct and thus cannot be liable

under a theory of strict liability for harm resulting from such required conduct. See BNSF Ry.

Co. v. Eddy, 459 P.3d 857, 874 (Mont. 2020) (“[A]n actor is not strictly liable for the activities it

engages in pursuant to its duty as … a common carrier.”); Restatement (Second) of Torts § 521


                                                - 28 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 40 of 54. PageID #: 1040




(“The rules as to strict liability for abnormally dangerous activities do not apply if the activity is

carried on in pursuance of a public duty imposed upon the actor … as a common carrier.”). Such

common carriers are potentially liable only under a negligence theory.

       As Plaintiffs admit, Norfolk Southern is a “common carrier” that has a public duty to

accept “hazardous substances for transportation.” Compl. ¶ 62. Thus, under federal law,

Norfolk Southern may not refuse a reasonable request for transportation. See 49 U.S.C.

§ 11101(a); Akron, Canton & Youngstown R.R. Co. v. I.C.C., 611 F.2d 1162, 1168-1169 (6th Cir.

1979); BNSF Ry. Co., 459 P.3d at 874; Trimbur, 2015 WL 4755205, at *6. Indeed, “railroads

have universally been considered by courts as common carriers entitled to the exception.” BNSF

Ry. Co., 459 P.3d at 874. Under the common-carrier exception, then, Norfolk Southern cannot

be strictly liable for its transportation of hazardous materials. See Ind. Harbor Belt R.R. Co. v.

Am. Cyanamid Co., 916 F.2d 1174, 1180 (7th Cir. 1990) (“[C]ommon carriers are not subject to

strict liability for the carriage of materials that make the transportation of them abnormally

dangerous, because a common carrier cannot refuse service to a shipper of a lawful

commodity.”); Town of East Troy v. Soo Line R.R. Co., 409 F. Supp. 326, 330 (E.D. Wis. 1976)

(granting motion to strike strict-liability claim against railroad based on derailment and resultant

chemical release because “a common carrier is not subject to strict liability for the transportation

of goods which it is required by law to undertake”).

       That exception extends to conduct incident to Norfolk Southern’s transportation of such

materials. The district court’s decision in Johnson v. CSX Transportation, Inc., 2008 WL

4427211 (W.D. Ky. Sept. 25, 2008), is instructive. There, the court dismissed a strict-liability

claim related to a train derailment that resulted in an explosion, chemical fire, and chemical

release. See id. at *1-3. The court concluded that the common-carrier exception applied to the




                                                - 29 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 41 of 54. PageID #: 1041




railroad company’s conduct following the train derailment, including conduct directed to limiting

the potential harm caused by the derailment. See id. In so doing, the court rejected the

plaintiff’s argument that the exception covered only the transportation of hazardous materials but

not the disposal of such materials following the derailment. Id. It reasoned that “Plaintiff’s

claim for strict liability depends on his exposure to chemicals that would not have been present

absent Defendant’s transportation of them.” Id. at *3.

       That reasoning applies with equal force here. To the extent Plaintiffs’ strict-liability

claim is premised on conduct other than the transportation of hazardous materials, including

allegedly “dump[ing] the vinyl chloride [Norfolk Southern was] transporting and [lighting] it on

fire in a residential community” (Compl. ¶ 248), it is premised on alleged conduct that Norfolk

Southern would not have undertaken but for its federally mandated transportation of such

materials. It “would be an extraordinary doctrine” to say that Norfolk Southern “is under legal

obligation to transport” hazardous materials and “is an insurer against any damage which may

result in the course of transportation, even though it has been guilty of no negligence which

occasioned the explosion which caused the injury.” Actiesselskabet Ingrid v. Cent. R.R. Co., 216

F. 72, 78 (2d Cir. 1914).

       C.      Plaintiffs’ Statutory, Public, And Private Nuisance Claims Fail (Counts 3-6)

       Plaintiffs assert four nuisance claims: one under Pennsylvania statutory law, one under

Ohio statutory law, one common-law private nuisance claim, and one common-law public

nuisance claim. Compl. ¶¶ 254-300. Each fails. First, Plaintiffs do not allege injuries distinct

from the general public, as required to allege their statutory nuisance claims and common-law

public nuisance claim. Second, Plaintiffs fail to plead the elements of a private nuisance claim.




                                               - 30 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 42 of 54. PageID #: 1042




              1.        Plaintiffs fail to plead a particularized injury distinct from the general
                        public as required for a statutory or public nuisance claim

         Under Ohio and Pennsylvania law, to plead a statutory or common-law public nuisance

claim, Plaintiffs must allege an injury distinct from that of the general public. See Elmer v. S.H.

Bell Co., 127 F. Supp. 3d 812, 827 (N.D. Ohio 2015); see also Kramer v. Angel’s Path, LLC, 882

N.E.2d 46, 52 (Ohio 2007) (under Ohio Law, “[t]o recover damages under a claim of public

nuisance, the plaintiff must establish … that the plaintiff has suffered an injury distinct from that

suffered by the public at large”); Allegheny Gen. Hosp. v. Philip Morris, Inc., 228 F.3d 429, 446

(3d Cir. 2000) (under Pennsylvania law, “a plaintiff must have suffered a harm of greater

magnitude and of a different kind than that which the general public suffered”). Plaintiffs fail to

do so.

         Consistent with the recurring theme, Plaintiffs’ allegations of injury are threadbare and

conclusory. Plaintiffs generally allege that Norfolk Southern’s conduct exposed their properties

and bodies to unsafe levels of contaminants and, as a result, Plaintiffs “suffered injuries that are

distinct from the injuries suffered by the public at large.” Compl. ¶¶ 260, 264. In purported

support, Plaintiffs generally allege that “smoke and particulate plume” traveled 30 miles in each

direction, id. ¶ 141, and “hazardous chemicals and combustion products [were] detected in air,

water, soil, and sediment samples taken within a 30-mile radius of the Derailment Site,” id.

¶ 143. Putting aside the threadbare nature of that allegation as applied to Plaintiffs’ claims,

nowhere in the Complaint do Plaintiffs provide any plausible factual allegations that these

emissions have injured them or their property in a manner distinct from any member of the

general public living within a 30-mile radius of the derailment site. Absent such a particularized

injury, Plaintiffs’ allegations are insufficient. See Elmer, 127 F. Supp. 3d at 826-827 (dismissing

public nuisance claim under Ohio law based on emission of toxic air contaminants because



                                                - 31 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 43 of 54. PageID #: 1043




plaintiffs failed to plead “that they suffered a distinct injury or harm from those of the general

public who live near Defendant’s operations”); see also Philadelphia Elec. Co. v. Hercules, Inc.,

762 F.2d 303, 316 (3d Cir. 1985) (dismissing public nuisance claims under Pennsylvania law

where “[t]he public right that was interfered with was the right to ‘pure water’”).

             2.        Plaintiffs fail to plead the elements of private nuisance

       Under Ohio law, a common-law private nuisance is actionable only if a plaintiff alleges

that (1) the defendant’s conduct constitutes a non-trespassory invasion of the plaintiff’s interest

in the private use and enjoyment of land; (2) the defendant’s invasion is either (a) intentional and

unreasonable, or (b) unintentional but caused by negligent, reckless, or abnormally dangerous

conduct; and (3) the defendant’s invasion caused the plaintiff to suffer a real, material, and

substantial injury. See Brown v. County Comm’rs of Scioto Cty., 622 N.E.2d 1153, 1158-1159

(Ohio Ct. App. 1993); Banford v. Aldrich Chem. Co., 932 N.E.2d 313, 317-318 (Ohio 2010).

       Plaintiffs fail to plead facts showing that Norfolk Southern’s alleged invasion of their

interest in the use and enjoyment of land was either (1) intentional and unreasonable, or (2)

unintentional and caused by negligent, reckless, or abnormally dangerous conduct. In their

Complaint, Plaintiffs offer this conclusory allegation: Norfolk Southern’s “negligent, reckless,

and/or intentional acts and omissions were unreasonable and constitute an invasion of

[Plaintiffs’] property rights.” Compl. ¶ 284. Similarly, Plaintiffs generally allege that Norfolk

Southern “knew or should have known” that the released contaminants “were hazardous and

harmful to real property and human beings” and that the company “was substantially certain that

improper transportation, handling, and disposal of these materials would cause injury to

Plaintiffs and the Class Members and their property.” Id. ¶ 279. As discussed, Plaintiffs’

allegations of negligence and recklessness are fundamentally deficient. Plaintiffs likewise offer




                                                - 32 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 44 of 54. PageID #: 1044




no facts that could support a claim that Norfolk Southern’s conduct was intentional. Ultimately,

the Complaint provides only the bare recitation of the elements of a private nuisance claim.

       D.      Plaintiffs’ Trespass Claim Fails (Count 7)

       Trespass claims based on airborne particles, as Plaintiffs allege here, are indirect

trespasses. See Baatz v. Columbia Gas Transmission, LLC, 929 F.3d 767, 772 n.2 (6th Cir.

2019). Even though, “[t]raditionally, any tangible invasion of property constituted a trespass and

entitled a landowner to at least recover nominal damages, … such a rule is not appropriate where

the incursion is the result of airborne particulates.” Williams v. Oeder, 659 N.E.2d 379, 382

(Ohio. Ct. App. 1995). Instead, “substantial” damages are required to limit those who can bring

a claim to individuals significantly harmed by the emission of airborne particles. Id. at 382-383.

       To meet that requirement, Plaintiffs must allege “substantial physical damage” to the

property or “substantial interference with their reasonable and foreseeable use” of the property.

Baker v. Chevron U.S.A., Inc., 533 F. App’x 509, 523 (6th Cir. 2013); see also Chance v. BP

Chems., Inc., 670 N.E.2d 985, 993 (Ohio 1996). The Complaint pleads neither.

       First, as to “substantial physical damage,” the detection of chemicals on a property does

not qualify because it does not rise to the level of “actual damage.” Baker, 533 F. App’x at 522-

23. Plaintiffs’ allegations concerning damage to their property are limited to the bare allegation

of “contaminat[ion]” of their property. See, e.g., Compl. ¶¶ 141, 303. Not only is that allegation

insufficient to allege “substantial physical damage” to property, Baker, 533 F. App’x at 522-23

(“[P]laintiffs have to show something more than the ‘mere detection’ of soil vapors on their

properties to establish the physical damage prong of an indirect trespass claim.”), but it is also

implausible that all of the properties of “upwards of 500,000 Class Members” (Compl. ¶ 141),

including those 30 miles away from the derailment, were somehow similarly contaminated by

particulate from the smoke plume. Such vague and undifferentiated allegations concerning


                                               - 33 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 45 of 54. PageID #: 1045




contamination of differently situated properties are insufficient to plausibly allege a claim of

physical damage to property.

       Equally deficient are Plaintiffs’ allegations that the values of their properties have

decreased. See Compl. ¶ 309. Under Ohio law, stigma damages—damages resulting from a

diminution in value to one’s property because of a public perception that the property may be

contaminated—are not recoverable without physical damage to that property. See Chance, 670

N.E.2d at 993 (affirming trial court holding that barred “evidence that environmental stigma …

had a negative effect on appellants’ property values due to the public perception that there may

have been injectate under appellants’ properties”); Ramirez v. Akzo Nobel Coatings, Inc., 791

N.E.2d 1031, 1034 (Ohio Ct. App. 2003) (“[P]ure environmental stigma, defined as when the

value of real property decreases due solely to public perception or fear of contamination from a

neighboring property, does not constitute compensable damages in Ohio.”).

       Second, as to the “substantial interference” prong, the only allegations in the Complaint

that could even conceivably underlie an allegation of substantial interference are limited to those

related to the evacuation order, which directed individuals living within one mile of the

derailment site to evacuate. See, e.g., Compl. ¶¶ 133-34. But Ohio courts have held that

temporary evacuations do not constitute substantial interference. See Lueke v. Union Oil Co.,

2000 WL 1545077, at *7-8 (Ohio Ct. App. Oct. 20, 2000) (affirming judgment against plaintiff

on trespass claim for failure to show substantial damages or interference where plaintiff was not

in home for approximately one week); see also Timbuk Farms, Inc. v. Hortica Ins. & Emps.

Benefits, 2021 WL 5446416, at *10 (Ohio Ct. App. Nov. 15, 2021) (finding no substantial

interference where plaintiff used an alternative source of water “[f]or a time”).




                                               - 34 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 46 of 54. PageID #: 1046




       E.      Plaintiffs’ Trespass-To-Chattels Claim Fails (Count 8)

       Under Ohio law, “[a] trespass to chattel occurs when one intentionally dispossesses

another of their personal property.” Conley v. Caudill, 2003 WL 21278885, at *2 (Ohio Ct. App.

May 30, 2003). To be liable, an individual must “intentionally” commit such a trespass.

Restatement (Second) of Torts § 217; see MCI WorldCom Network Servs., Inc. v. W.M. Brode

Co., 411 F. Supp. 2d 804, 810 (N.D. Ohio 2006) (“Since MCI has produced no evidence that

Brode intended the physical contact with the cables, no trespass claim may lie.”).

       Plaintiffs allege, without elaboration, that Norfolk Southern “impair[ed]” and

“caused … harm” to Plaintiffs’ chattels and “deprived Plaintiffs … of the possession or use of

their chattel for a substantial time.” Compl. ¶¶ 315-316. They offer no plausible allegations,

however, that Norfolk Southern engaged in any such conduct intentionally. Indeed, while the

Complaint generally alleges that Norfolk Southern “intentionally” engaged in the controlled

release (id. ¶ 137), it does not attempt to allege that Norfolk Southern “intentionally” impaired or

harmed Plaintiffs’ chattels or deprived them of possession of chattels for a substantial period of

time. In fact, the Complaint alleges that the ‘“controlled release’ was anything but controlled”

(id. ¶ 138), and that the spread of the resulting “smoke and particulate plume” was “caused by a

temperature and weather inversion over the Derailment Site” (id. ¶¶ 139-40). Such allegations,

alleging a lack of control over the disbursement of the plume, are inconsistent with any purported

intentional interference by Norfolk Southern of Plaintiffs’ chattels.

       F.      Plaintiffs’ Statutory Agricultural Claims Fail (Counts 9-12)

       Plaintiffs’ claims premised on injury to plants, crops, and animals fail because Plaintiffs

have merely recited the elements of those claims. See Compl. ¶¶ 325-360. Plaintiffs have not

alleged facts showing, for example, that Norfolk Southern destroyed any plants or timber, much

less that it did so recklessly. See Ohio Rev. Code § 901.51 (prohibiting reckless destruction of


                                               - 35 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 47 of 54. PageID #: 1047




trees and crops); W.Va. Code § 61-3-48a (prohibiting “damag[ing] or carry[ing] away” of trees

and crops without written permission from the owner). Nor have they alleged that Norfolk

Southern killed or injured domestic animals, let alone that it did so “maliciously, or willfully.”

Ohio Rev. Code § 959.02; State v. O’Brien, 2017 WL 3475524, at *4 (Ohio Ct. App. Aug. 10,

2017). Again, Plaintiffs allege only that hazardous chemicals released from the derailment

disbursed within a 30-mile radius. Compl. ¶ 143. That is far short of the plausible factual

allegations necessary.

       G.      Plaintiffs’ Medical-Monitoring Claims Fail (Counts 13-15)

       Plaintiffs assert three counts of medical monitoring, under Ohio law, Pennsylvania law,

and West Virginia law. See Compl. ¶¶ 361-390. But as Plaintiffs all but concede (Compl. at 81

n.13), medical monitoring is not a standalone claim under Ohio law. Moreover, Plaintiffs have

failed to plausibly allege claims for medical monitoring under any State’s law because they have

failed to allege underlying conduct by Norfolk Southern, and the threadbare allegations in

support of their medical-monitoring claims do not satisfy their pleading burden.

               1.        Medical monitoring is not a cause of action under Ohio law

       Under Ohio law, “medical monitoring is not a cause of action.” Elmer, 127 F. Supp. 3d

at 825. It is only a potential remedy after a party proves liability for an underlying claim. See

Mann v. CSX Transp., Inc., 2009 WL 3766056, at *6 (N.D. Ohio Nov. 10, 2009) (“Medical

monitoring is a purely equitable form of relief which should only be granted with prudence.”),

aff’d sub nom., Hirsch v. CSX Transp., Inc., 656 F.3d 359 (6th Cir. 2011); Day v. NLO, 851 F.

Supp. 869, 879-880 (S.D. Ohio 1994) (“‘Recognition that a defendant’s conduct has created the

need for future medical monitoring does not create a new tort. It is simply a compensable item

of damage when liability is established under traditional tort theories of recovery.’”). Plaintiffs

hardly dispute the point. Compl. at 81 n.13 (“Plaintiffs acknowledge that under Ohio law,


                                               - 36 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 48 of 54. PageID #: 1048




medical monitoring might not be recognized as a stand-[alone] cause of action.”). Because it is

not a cause of action under Ohio law, Plaintiffs’ medical-monitoring claim under Ohio law

should be dismissed. See Elmer, 127 F. Supp. 3d at 825 (dismissing medical-monitoring claim

because it is “not an independent cause of action” under Ohio law).

             2.        Plaintiffs have failed to plead the necessary underlying conduct

       Medical-monitoring claims, whether they are standalone claims or forms of relief, require

proof of conduct causing the need for medical monitoring. See, e.g., Elmer, 127 F. Supp. 3d at

825 (“medical monitoring may be a ‘compensable item of damage when liability is established

under traditional tort theories of recovery’”); Redland Soccer Club, Inc. v. Dep’t of the Army &

Dep’t of Def. of the U.S., 696 A.2d 137, 145-46 (Pa. 1997) (plaintiff must prove that their

“exposure … to a proven hazardous substance [was] caused by the defendant’s negligence” to

prevail on a claim for medical monitoring); Acord v. Colane Co., 719 S.E.2d 761, 770 (W.Va.

2011) (“Having found that Ms. Acord failed to present sufficient evidence to prove her tort

theories of liability asserted against Colane, she cannot satisfy the third element necessary to

sustain a claim for medical monitoring.”). For the reasons explained above, Plaintiffs’

negligence, gross negligence, nuisance, and strict-liability claims are preempted by federal law,

and, in any event, Plaintiffs have not plausibly alleged any negligent or tortious conduct

committed by Norfolk Southern. Plaintiffs’ medical-monitoring claims should fall with those

underlying claims. See Ballard v. Nat’l Football League Players Ass’n, 123 F. Supp. 3d 1161,

1172 (E.D. Mo. 2015) (granting motion to dismiss where claims were “all either preempted or, in

the case of their counts for medical monitoring, derivative of preempted claims”); In re Sulzer

Hip Prosthesis & Knee Prosthesis Liab. Litig., 455 F. Supp. 2d 709, 720 n.13 (N.D. Ohio 2006)

(dismissing claim for medical monitoring where underlying claims were preempted).




                                               - 37 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 49 of 54. PageID #: 1049




             3.        Plaintiffs have otherwise failed to plead the elements of medical
                       monitoring

       Plaintiffs’ medical-monitoring claims fail for the additional reason that they have not

plausibly alleged the other required elements. Under Ohio law, Plaintiffs must allege that

(1) Norfolk Southern is liable for some negligent or tortious conduct and (2) as a result of that

conduct, they have an increased risk of disease that would warrant a reasonable physician to

order monitoring. See Elmer, 127 F. Supp. 3d at 825; Hirsch, 656 F.3d at 363 (“[N]ot every

increased risk of disease warrants increased medical scrutiny. … [F]or the Plaintiffs to prevail,

there must be evidence that a reasonable physician would order medical monitoring for them.”).

       Under Pennsylvania law, Plaintiffs must allege that they experienced (1) exposure greater

than normal background levels (2) to a proven hazardous substance (3) caused by Norfolk

Southern’s negligence; (4) as a proximate result of the exposure, they have a significantly

increased risk of contracting a serious latent disease; (5) monitoring procedures exist that make

the early detection of the disease possible; (6) the prescribed monitoring regime is different from

that which is normally recommended in the absence of exposure; and (7) the prescribed

monitoring regime is reasonably necessary according to contemporary scientific principles. See

Redland Soccer Club, Inc., 696 A.2d at 145-146. The requirements under West Virginia law are

similar. See State ex rel. City of Martinsburg v. Sanders, 632 S.E.2d 914, 918 (W.Va. 2006).

       Plaintiffs’ conclusory allegations related to medical monitoring doom their claim under

any State’s law. As to Ohio law, Plaintiffs have not plausibly alleged that a reasonable physician

would order medical monitoring based on their alleged exposure. See Mann, 2009 WL 3766056,

at *4 (“Even if Plaintiffs could demonstrate a causal relationship between dioxins and cancer,

Plaintiffs have failed to establish that they were exposed to dioxins in an amount warranting a

reasonable physician to order medical monitoring.”). Nor would it be a reasonable inference to



                                               - 38 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 50 of 54. PageID #: 1050




make, given Plaintiffs’ bare allegations of exposure to hazardous chemicals, which are premised

upon an allegation, made on information and belief, that the smoke plume traveled 30 miles in

every direction. See Compl. ¶ 141. And in any event Plaintiffs’ mere presence in the 30-mile

radius of the derailment site does not by itself mean they are entitled to medical monitoring. See

Mann, 2009 WL 3766056, at *4 (“Mere residence in the impact zone is insufficient evidence of

contamination and increased risk because it ignores individual variables, most notably, at what

level the named Plaintiffs were actually exposed.”). Without plausible allegations of exposure,

Plaintiffs likewise cannot allege claims for medical monitoring under Pennsylvania law or West

Virginia law. See Redland Soccer Club, Inc., 696 A.2d at 145-146 (requiring “exposure greater

than normal background levels”); Sanders, 632 S.E.2d at 918 (requiring “significant exposure”).

       H.      Plaintiffs’ Spoliation Claim Fails (Count 16)

       To plead spoliation, Plaintiffs must allege, among other elements, that Norfolk Southern

willfully destroyed evidence to disrupt the Plaintiffs’ case. See Smith v. Howard Johnson Co.,

615 N.E.2d 1037, 1038 (Ohio 1993). Willfully means “done voluntarily and intentionally and

with the specific intent to do something the law forbids.” Drawl v. Cornicelli, 706 N.E.2d 849,

852 (Ohio 1997). Plaintiffs have not satisfied that burden. They generally allege that Norfolk

Southern failed to stop automatic deletion protocols of the derailed train’s cab surveillance video

and, as a result, certain video from the night of the incident was lost. Compl. ¶ 396. Yet

Plaintiffs plead no plausible factual allegations that Norfolk Southern willfully deleted video to

disrupt Plaintiffs’ case. Their failure to do so dooms this claim. See Howard Johnson Co., 615

N.E.2d at 1038.

       I.      Plaintiffs’ Request For Punitive Damages Fails

       Plaintiffs’ punitive damages request must be dismissed or, in the alternative, stricken

because they have failed to plead that Norfolk Southern acted with actual malice. See Windsor-


                                               - 39 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 51 of 54. PageID #: 1051




Laurelwood Ctr. Behavioral Med. v. Waller Landsen Dortch & Davis, 2013 WL 12303992, at *6

(N.D. Ohio July 24, 2013), report and recommendation adopted by 2015 WL 1859005 (N.D.

Ohio Apr. 22, 2015) (actual malice must be pleaded); see also Flex Homes, Inc. v. Ritz-Craft

Corp., 721 F. Supp. 2d 663, 676 (N.D. Ohio 2010) (same). Ohio recognizes two categories of

actual malice: “first, behavior characterized by hatred, ill will, or a spirit of revenge and, second,

extremely reckless behavior revealing a conscious disregard for a great and obvious harm.”

Preston v. Murty, 512 N.E.2d 1174, 1175 (Ohio 1987). Conscious disregard requires the party

possess knowledge of the near certainty that substantial harm will be caused by the alleged

tortious behavior. See Alleman v. YRC, 787 F. Supp. 2d 679, 684 (N.D. Ohio 2011).

       Plaintiffs have not alleged any conduct that could be construed as showing hatred, ill will,

or a spirit of revenge. Nor have they alleged conduct showing that Norfolk Southern knew of the

harm that the derailment could cause. “In fact, the Complaint does not contain any allegations

regarding” Norfolk Southern’s “mental state”—let alone any that shows conscious disregard for

harm caused by the derailment. Flex Homes, Inc., 721 F. Supp. 2d at 675 n.10. Plaintiffs’

request for punitive damages therefore fails.

                                          CONCLUSION

       The Court should dismiss Plaintiffs’ Master Consolidated Class Action Complaint with

prejudice and strike Plaintiffs’ request for punitive damages.




                                                - 40 -
 Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 52 of 54. PageID #: 1052




Dated: June 2, 2023                               Respectfully submitted.

WILMER CUTLER PICKERING                           DICKIE, MCCAMEY &
 HALE AND DORR LLP                                  CHILCOTE, P.C.

/s/ Alan Schoenfeld
ALAN SCHOENFELD*                                  J. LAWSON JOHNSTON
7 World Trade Center                              SCOTT D. CLEMENTS, Ohio Bar No. 96529
250 Greenwich Street                              AARON PONZO*
New York, NY 10007                                PAUL ROMAN*
Tel.: (212) 230-8800                              Two PPG Place, Suite 400
Fax: (212) 230-8888                               Pittsburgh, PA 15222
alan.schoenfeld@wilmerhale.com                    Tel.: (412) 281-7272
                                                  Fax: (412) 888-811-7144
DAVINA PUJARI*                                    ljohnston@dmclaw.com
CHRIS RHEINHEIMER*                                sclemenets@dmclaw.com
One Front Street, Suite 3500                      aponzo@dmclaw.com
San Francisco, CA 94111                           proman@dmclaw.com
Tel.: (628) 235-1000
Fax: (628) 235-1011                               *Pro hac vice
davina.pujari@wilmerhale.com
chris.rheinheimer@wilmerhale.com

ALBINAS PRIZGINTAS*
2100 Pennsylvania Avenue NW
Washington, DC 20036
Tel.: (202) 663-6000
Fax: (202) 663-6363
albinas.prizgintas@wilmerhale.com

MICHELLE LISZT SANDALS*
60 State Street
Boston, MA 02109
Tel.: (617) 526-6000
Fax: (617) 526-5000
michelle.sandals@wilmerhale.com

*Pro hac vice




                                 Counsel for Defendants
           Norfolk Southern Corporation and Norfolk Southern Railway Company



                                         - 41 -
  Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 53 of 54. PageID #: 1053




                  CERTIFICATE OF LOCAL RULE 7.1 COMPLIANCE

       I certify that this Memorandum adheres to the page limitations set forth in Local Rule

7.1(f) for mass-tort cases because it does not exceed 40 pages in length. See Discovery Plan 1

n.*, Dkt. 62 (May 23, 2023).



                                               /s/ Alan Schoenfeld
                                               ALAN SCHOENFELD




                                             - 42 -
   Case: 4:23-cv-00242-BYP Doc #: 76-1 Filed: 06/02/23 54 of 54. PageID #: 1054




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2023, I caused a copy of the foregoing to be filed with the

Clerk of the Court using the Court’s CM/ECF electronic filing system, which will provide

electronic notice to all counsel of record.



                                                /s/ Alan Schoenfeld
                                                ALAN SCHOENFELD
